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                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA

                                                                         Grand Jury Action No. 18-34 (BAH)
 In re GRAND JURY INVESTIGATION
                                                                         Chief Judge Beryl A. Howell

                                                                         REDACTED



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                                  MEMORANDUM OPINION

       This matter comes before the Court on a second motion by a grand jury witness to quash

subpoenas issued by the Special Counsel to provide testimony and documents to the grand jury

as part of the ongoing investigation into Russian interference with the 2016 presidential election,

and related matters, with which the Special Counsel was tasked. This time, the witness seeks to

quash the grand jury subpoenas on the grounds that the Special Counsel lacks authority to issue

the subpoenas as his appointment is unconstitutional, in violation of the Appointments Clause.

        [T]he Appointments Clause was designed to ensure public accountability for both the

                                                                 Edmond v. United States, 520

U.S. 651, 660 (1997); see also Lucia v. SEC, 138 S. Ct. 2044, 2055 (2018) (Thomas, J.,

               [T]he Appointments Clause maintains clear lines of accountability     encouraging



prosecutorial power, just like the exercise of other forms of government authority, is ultimately

accountable to elected officials. Federal prosecutors are granted broad authority under our laws

to choose their targets and pursue their investigations. As former Attorney General Robert H.

Jackson stat



Address at Conference of United States Attorneys (Apr. 1, 1940). Such power, left unchecked, is



                          Morrison v. Olson, 487 U.S. 654, 728 (1988) (Scalia, J., dissenting).

Prosecutors must wield broad powers to investigate effectively criminal activity, but elected

officials must exercise sufficient control over prosecutors, principally by setting boundaries in

law, to enable the public to know who to credit or blame for exercises of prosecutorial authority.



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       Here, the witness essentially argues that the Special Counsel wields too much power with

too little accountability. Specifically, the witness contends that the Special Counsel was

appointed unlawfully, under the Appointments Clause of the Constitution, U.S. CONST. art. II, §

2, cl. 2, because (1) the Special Counsel is a principal rather than inferior officer, and thus was

required to be nominated by the President and confirmed by the Senate; (2) no statute authorized



Justice official who appointed the Special Counsel lacked authority to do so.

       The witness raises legitimate questions, but his concerns are not legally sustainable. The



as the Special Counsel is supervised by an official who is himself accountable to the elected




do so. For these reasons, e

grand jury subpoenas is denied.

I.     BACKGROUND

       Consideration of the constitutional and statutory issues the witness raises benefits from

review of the historical development of the Attorney Ge



in this task. Following this is an overview of relevant statutes and the internal Department of

Justice Special Counsel regulations. Finally, the circumstances surrounding the Special

                                                                                 , are recounted.




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       A. Historical Background

       The Attorney General did not always possess the centralized authority he enjoys today to

                         s law enforcement and litigation responsibilities. Rather, such authority

developed and expanded over time. The Judiciary Act of 1789 created the office of Attorney

General, who was authorized

       to prosecute and conduct all suits in the Supreme Court in which the United States
       shall be concerned, and to give his advice and opinion upon questions of law when
       required by the President of the United States, or when requested by the heads of
       any of the departments, touching any matters that may concern their departments.

An Act to Establish the Judicial Courts of the United States                      , ch. 20, § 35, 1

Stat. 73, 93 (1789). Edmund Randolph, the first United States Attorney General appointed by

the first President, George Washington, had neither clerical staff nor office space, and had to

                                                                                       The Legal

Work of the Federal Government, 25 VA. L. REV. 165, 176 (1939).

       The Judiciary Act also provided for the appointment in each district of a district attorney,



such district . . . whose duty it shall be to prosecute in such district all delinquents for crimes and

offences, cognizable under the authority of the United States, and all civil actions in which the

United States shall be concerned, except before the supreme court in the district in which that




by the President. United States v. Hawthorne, 449 F. Supp. 1048, 1051 (S.D. Cal. 1978), af            ,



specifically authorized to represent the United States only in judicial proceedings which took

                               the district attorneys having ex


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                                                                                        Id.

Attorney General was required to appear only in the Supreme Court, there was doubt about his

ability to appear in oth                        In re Persico, 522 F.2d 41, 53 (2d Cir. 1975). 1 The

                                     Civil War, federal prosecutorial efforts were almost completely

                                                                                                     Id.2

                                                                        id., Congress began to concentrate



direction of the attorneys . . . of all the districts in the United States and the Territories as to the

                                                                                                 -General and the



The Act also required the distr                                                   -General an account of their

                                                                                              Id. Finally, the Act

                                                                                                      tes) such

attorneys and counsellors-at-law as he may think necessary to assist the district-attorneys in the

                                 Id. § 2.3

         With the DA Act, the Attorney General could for the first time both direct the district




1

                                                      Persico
number of early cases in federal t
                                                  Id.; see also Hawthorne, 449 F. Supp. at 1055 n.10. Given that

preoccupied with growing requests for advisory opinions and with expanding Supreme Court litigation, the local
                                                               Persico, 522 F.2d at 53.
2
          Presidents and Attorneys General, beginning with Edmund Randolph, lobbied over the course of decades to
give the Attorney General control and supervision over the district attorneys. See
                                            : The Solicitor General in Historical Context, Address to the Supreme
Court Historical Society (June 1, 1998). Congress resisted these efforts, but enacted piecemeal legislation during
this period giving the Attorney General control over specific areas of litigation on an ad hoc basis. See id. n.34.
3
          Congress briefly repealed this authority in 1869, but restored it shortly thereafter, see Waxman, supra.

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                                                              Id. The Attorney General still lacked

attorneys under his own immediate control and was required instead to rely on the district

attorneys and their assistants to execute his directives. In addition, the Attorney General himself

still had no explicit statutory authority to litigate outside the Supreme Court.

        Congress empowered the Attorney General in 1868 to litigate in the Court of Claims and

gave him two assistants, to be nominated by the President and confirmed by the Senate rather

than chosen by the Attorney General himself, see Act of June 25, 1868, ch. 71, § 5, 15 Stat. 75,

75 76

essentially unchanged between 1789 and 1870, see United States v. 1,960 Acres of Land in

Riverside Cty., 54 F. Supp. 867, 875 (S.D. Cal. 1944). As the Supreme Court stated in the

Confiscation Cases:

        [p]ublic prosecutions, until they come before the court to which they are returnable,
        are within the exclusive direction of the district attorney, and even after they are
        entered in court, they are so far under his control that he may enter a nolle prosequi
        at any time before the jury is empanelled for the trial of the case, except in cases
        where it is otherwise provided in some act of Congress.

        Civil suits, in the name and for the benefit of the United States, are also instituted
        by the district attorney, and, in the absence of any directions from the Attorney-
        General, he controls the prosecution of the same in the district and circuit courts,
        and may, if he sees fit, allow the plaintiffs to become nonsuit, or consent to a
        discontinuance.

        Settled rule is that those courts will not recognize any suit, civil or criminal, as
        regularly before them, if prosecuted in the name and for the benefit of the United
        States, unless the same is represented by the district attorney, or some one
        designated by him to attend to such business, in his absence, as may appertain to
        the duties of his office.

74 U.S. 454, 457 (1868). Federal litigation authority, while more concentrated in the Attorney

General than before, thus remained largely decentralized.



Government working independently of and at odds with the local District Attorneys and the

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                    1,960 Acres, 54 F. Supp. at 875, led Congress to create the Department of

Justice, with the Attorney General at its head, see An Act to Establish the Department of Justice



concerned with consolidating the legal offices of the executive branch to promote greater

                                                      Executive Branch Legal Interpretation: A

Perspective from the Office of Legal Counsel, 52 ADMIN. L. REV. 1303, 1310 (2000). One



to the President, the heads of Departments, the heads of bureaus, and other officers of the

Government for the guidance of their official action,                 the unnecessary expenditure

                                                                                          CONG.

GLOBE, 41st Cong., 2d Sess. 3065 (1870) (statement of Rep. William Lawrence of Ohio).

Another supporter described the DOJ Act as nee

                                      Id. at 3035 36 (statement of Rep. Thomas Jenckes of

Rhode Island); see also 1,960 Acres

the Act was the multiplicity of conflicting legal opinions given by the law officers in the several

departments[,] expenditures for special counsel, including large retainers paid eminent lawyers

who at times rendered little service in return   numerous private counsel appointed by Cabinet



       The DOJ Act centralized federal authority to conduct litigation under the Attorney

                                                                                 -General in the

performance of his duties;

Attorney General and Solicitor General; transferring various solicitors, law officers, and clerical

workers in other departments into the Department of Justice;



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law duties to the Department. 1870 Act §§ 2 3, 7. Whereas the Judiciary Act of 1789 had

authorized the Attorney General to argue only before the Supreme Court, the district attorneys

being authorized to argue before other courts, the DOJ Act expressly authorized the Attorney



                                           -



                                                                              Id. § 5. The Act gave

the Attorney General additional power to direct and supervise his subordinates, including broad



                                        Id. §§ 4, 6, 8, 14. The Act reaffirmed the Attorney




                                                                                     Id. §§ 15, 16.

       Section 17 of the DOJ Act prohibited the other departments fro




            Id. § 17. Section 17 also

allowed to any person or persons, beside the respective district attorneys and assistant district

attorneys, for services in such capacity to the United States, or any branch or department of the

government thereof, unless hereafter authorized by law, and then only on the certificate of the

Attorney-General that such services were actually rendered, and that the same could not be



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performed by the Attorney-General, or solicitor-general, or the officers of the department of

                                        Id.

        Finally, as relevant here, Section 17 provided that:

        every attorney and counselor who shall be specially retained, under the authority of
        the Department of Justice, to assist in the trial of any case in which the government
        is interested, shall receive a commission from the head of said Department, as a
        special assistant to the Attorney-General, or to some one of the district attorneys,
        as the nature of the appointment may require, and shall take the oath required by
        law to be taken by the district attorneys, and be subject to all the liabilities imposed
        upon such officers by law.

Id.

United S

directly as well. Hawthorne

and distinct statutory bases for the Attorney General, as head of the Department of Justice, to

                                                                           Id.; see Persico, 522 F.2d



its employees would interfere with the functions of the district attorneys and gave the Attorney




attorneys . . . . in grand                                     Persico



                                                                                             ist local



protect newly-enfranchised black citizens from widespread Ku Klux Klan terrorism in Southern

         Id.                                              antitrust and civil rights cases have been

increasingly controlled from Washington through the various divisions in the Department of

                                  Id.
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                                                                                            trial of



as to whether specially-

grand jury proceedings. In United States v. Rosenthal, the Circuit Court for the Southern District

of New York held that the Attorney General, regular Department of Justice officers, and

specially-retained attorneys could participate only in trials but not in grand jury proceedings, as

the latter were the exclusive province of the district attorneys and their assistants. 121 F. 862,

868 (C.C.S.D.N.Y. 1903). Rosenthal

regard for the primary policy of limiting the conduct of matters before grand juries to the local




                                         Id. at 866 67. Rosenthal did not doubt that the DOJ Act



only that such special assistants could not participate in grand jury proceedings. Id. at 868. Two

other courts rejected Rosenthal                                                        -retained

attorneys could conduct grand jury proceedings. See United States v. Twining, 132 F. 129, 131

32 (D.N.J. 1904); United States v. Cobban, 127 F. 713, 717 (D. Mont. 1904).

       Congr                                                                  Rosenthal in 1906 by

enacting a statute authorizing the Attorney General, regular Department of Justice officers, and

specially-

                                       Rosenthal      Persico, 522 F.2d at 59. The 1906 Act

provided

       [t]hat the Attorney General or any officer of the Department of Justice, or any
       attorney or counselor specially appointed by the Attorney-General under any

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       provision of law, may, when thereunto specifically directed by the Attorney-
       General, conduct any kind of legal proceeding, civil or criminal, including grand
       jury proceedings and proceedings before committing magistrates, which district
       attorneys now are or hereafter may be by law authorized to conduct, whether or not
       he or they be residents of the district in which such proceeding is brought.

An Act to Authorize the Commencement and Conduct of Legal Proceedings Under the Direction

of the Attorney-                                     59-404, ch. 3935, 34 Stat. 816, 816 17



                                                                                an unbounded

                                        Hawthorne, 449 F. Supp. at 1055; see also id. at 1054



reservations of a minority of the House Committee which had strongly objected to granting



Attorney General would supervise the work of these assistants, and bear ultimate responsibility

                   Id. at 1055.

       Between 1921 and 1964, Congress annually appropriated money to the Department of

Justice to employ officials to detect and prosecute crime. Language from the

appropriation                                                                       etection and

                                                 Act of Aug. 31, 1964, Pub. L. No. 88-527, tit.

II, 78 Stat. 711, 717. In 1965, Congress embarked on a comprehensive recodification of the U.S.

Code. S. Rep. No. 89-1380, at 18 (1966); accord H.R. Rep. 89-901, at 1 (1965). In the course of

those efforts, Congress codified language from the                                    act into

statute at 28 U.S.C. § 533(1). Although the appropriation act had included this provision under




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        B. Statutory Background

        Today, the Attorney General remains the head of the Department of Justice. 28 U.S.C.

                                                                                      -in-command,



Id. §§ 504, 508(a)




make such provisions as he considers appropriate authorizing the performance by any other

                                                                                        Id. §§ 509,

                                                                                           reof is a

party, or is interested, and securing evidence therefor, is reserved to officers of the Department of



Id.                                               ll supervise all litigation to which the United

States, an agency, or officer thereof is a party, and shall direct all United States attorneys,

assistant United States attorneys, and special [assistants to U.S. Attorneys] in the discharge of

their respecti              Id. § 519; see also id. § 547(5)

such reports as the A



                     id.



                      id.



the Attorney General under law, . . . conduct any kind of legal proceeding, civil or criminal,



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including grand jury proceedings and proceedings before committing magistrate judges, which

United States attorneys are authorized by law to conduct, whether or not he is a resident of the

                                                        may himself do the same. Id. § 515(a).

        The Attorney General is re

disqualification of any officer or employee of the Department of Justice . . . from participation in

a particular investigation or prosecution if such participation may result in a personal, financial,



statutory requirement, the Attorney General promulgated 28 C.F.R. § 45.2, which provides, in

                                                          criminal investigation or prosecution if he

has a personal or political relationship with . . . [a]ny person or organization substantially



organization which he knows has a specific and substantial interest that would be directly

                                                                                         see also

Disqualification Arising From Personal or Political Relationships, 48 Fed. Reg. 2,318, 2,319

                                                                                     gation). The

regulation defines

elected official, a candidate . . . for elective, public office, a political party, or a campaign



28 C.F.R. § 45.2(c)(1).

        C. The Special Counsel Regulations

        In 1999, shortly before the Independent Counsel provisions of the Ethics in Government

                                         -521, § 601(a), 92 Stat. 1824, 1867 73; see 28 U.S.C. §§

591 599 (expired), lapsed, the Department of Justice promulgated


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                                                  balance between independence and accountability in

certain sensitive investigations, recognizing that there is no perfect solution to the problem,

Office of Special Counsel, 64 Fed. Reg. 37,038, 37,038 (July 9, 1999). 4 The regulations seek to

            ay-to-                                                    who is

if appropriate, prosecute matters when the Attorney General concludes that extraordinary

circumstances exist such that the public interest would be served by removing a large degree of

responsibility for the matter from the D                                 Id. The regulations leave a



independent prosecutorial discretion to decide whether charges should be brought, within the

context of the establ

                                                                                   Id. The regulations thus

                                                                                                      pecial

             Id. The regulations also contemplate that the Acting Attorney General would assume



          Id. The Department of Justice promulgated the regulations without either notice and

comment or a 30-

                                 Id. at 37,041.

                                                                                                        iction,




4
         The EIGA created the position of Special Prosecutor, to sunset in five years. See EIGA § 601(a). Congress
reauthorized this provision in 1983, renaming the Special Prosecutor the Independent Counsel, and then again in
1987 and 1994. See Ethics in Government Act Amendments of 1982, Pub. L. No. 97-409, § 7, 96 Stat. 2039, 2042;
Independent Counsel Reauthorization Act of 1987, Pub. L. No. 100-191, § 2, 101 Stat. 1293, 1306; Independent
Counsel Reauthorization Act of 1994, Pub. L. No. 103-270, § 2, 108 Stat. 732, 732.

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28 C.F.R. § 600.4(a), (b). A Special Counsel is



offices within the Department for guidance with respect to established practices, policies and

procedures o                                                                                   Id. §



                                                                                    ion would render

compliance with required review and approval procedures by the designated Departmental

                                 Id.

                                                                -to-day supervision of any official



provide an explanation for any investigative or prosecutorial step, and may after review conclude

that the action is so inappropriate or unwarranted under established Departmental practices that it

                           Id.                                                                 he

views of the Special Counsel in making such determination. Id. A Special Counsel is not

                                                                        breach of ethical duties

under the same standards and to the same extent as are other employees of the Department of

                                                  handled through the appropriate office of the

Department upon the approval of the Attorney General.        Id. § 600.7(c). The Attorney General



dereliction of duty, incapacity, conflict of interest, or for other good cause, including violation of

Departmen                  in which event

in writing of the specif                                    Id. § 600.7(d).




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the current fiscal year . . .                                                   Id. § 600.8(a)(1).



                                                                 Id.

beginning of each fiscal year, the Special Counsel shall report to the Attorney General the status

                                                                              Id. 600.8(a)(2). The

                            etermine[s] whether the investigation should continue and, if so,

                                              Id. In addition to providing a budget to be approved

by the Attorney General, a                                                                      the

course of his or her investigation in conformity with the Departmental guidelines with respect to

                    id.

inform Department leadership, including the Attorney General and the [DAG], of (1) major

developments in significant investigations and litigation, (2) law enforcement emergencies, and

(3) events affecting the Department that are likely to generate national media or Congressional

            U.S. ATTORNEY S MANUAL § 1-                                                               s

work, he or she shall provide the Attorney General with a confidential report explaining the

                                                                             C.F.R. § 600.8(c).

        The Attor



                                                           Id. § 600.9(a)(1) (2). In addition, the



description and explanation of instances (if any) in which the Attorney General concluded that a




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proposed action by a Special Counsel was so inappropriate or unwarranted under established

                                                                  Id. § 600.9(a)(3); accord id. § 600.7(b).



to create any rights, substantive or procedural, enforceable at law or equity, by any person or

                                                                    Id. § 600.10.

         D.



existing or future investigations of any matters related in any way to the campaigns for President



                                                           . The Attorney General announced that

                                                                                    [the] Acting Deputy

Attorney General . . . shall act as and perform the functions of the Attorney General with respect

to any matters from which I have recused myse                                              Id. The Attorney



         Id. In subsequent testimony before the U.S. Senate Select Committee on Intelligence,

the Attorney G



                                                                                                          Jeff

Sessions, Attorney General, Prepared Remarks to the United States Senate Select Committee on

                                                                          .5 The Attorney General further



5
         The Attorney General did not file a formal order of recusal. See
Neither 28 C.F.R. § 45.2 nor any other statutory or regulatory provision require that a recusal be memorialized in a
written order or other memorandum. Cf.                                                              ed not file a



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testified that between the day after he became Attorney General and the date of his recusal, he




determined was necessary to inform [h                          Id.

       On March 20, 2017, then-FBI Director James B. Comey testified before the U.S. House

of Representatives Permanent Select Committee on Intelligence that he

       ha[d] been authorized by the Department of Justice to confirm that the FBI, as part

       efforts to interfere in the 2016 presidential election, and that includes investigating
       the nature of any links between individuals associated with the Trump campaign
       and the Russian government and whether there was any coordination between the


James B. Comey, Dir., FBI, Statement Before the House Permanent Select Committee on



                                                                                            Id.

                                                                                       -related

                                                       revelatory testimony about the ongoing

counterintelligence investigation of Russian efforts to interfere in the 2016 presidential election,

Rod J. Rosenstein was sworn in as DAG on April 26, 2017. See Meet the Deputy Attorney

General, U.S. DEP   T OF JUSTICE,   https://www.justice.gov/dag/staff-profile/meet-deputy-attorney-

general (last visited July 31, 2018). The DAG became Acting Attorney General, by operation of

law, as to those matters for which the Attorney General was recused. See Recusal Statement; 28

U.S.C. § 508(a); see also




Special Counsel for the

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Attorney General, Order No. 3915-2017, Appointment of Special Counsel to Investigate Russian

                                                                                               )

(May 17, 2017). The DAG specifically authorized the Special Counsel:

       to conduct the investigation confirmed by then-FBI Director James B. Comey in
       testimony before the House Permanent Select Committee on Intelligence on March
       20, 2017, including

       (i)     any links and/or coordination between the Russian government and
               individuals associated with the campaign of President Donald Trump; and

       (ii)    any matters that arose or may arise directly from the investigation; and

       (iii)   any other matters within the scope of 28 C.F.R. § 600.4(a).

Id.

                                           Id. ¶ (c). The DAG specified that 28 C.F.R. §§ 600.4

                                                 id. ¶ (d), but did not invoke the regulations as



foreign interference in the 2016 presidential election and potential collusion in those efforts by

                     In re Grand Jury Investigation, 17-mc-2336 (BAH), 2017 WL 4898143, at

*1 (D.D.C. Oct. 2, 2017).

       E. The Subpoenas at Issue

       The Special Counsel, on May 10, 2018, served on the witness two grand jury subpoenas

to produce documents and appear before the grand jury on May 18, 2018.

                    2, ECF No. 1; see also generally Mot. Compel, Ex. A, Grand Jury

Subpoenas                                          s               -1.6 The witness agreed to meet

voluntarily with the Special Counsel on May 14, 2018. Shortly before the meeting date, on May


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behalf to advise that she was considering representing the witness in connection with this matter,

and that the witness no longer wished to meet with the Special Counsel on May 14. Mot.

Compel ¶ 2.7 On May 14, 2018, the Special Counsel called Attorney 1 to inquire about her

representation of the witness, but Attorney 1 did not return that call. Id. ¶ 3.

       The witness failed to appear before the grand jury on May 18, 2018, as one of the first

subpoenas has required. Id. ¶ 4. The Special Counsel tried to contact Attorney 1, who was

unavailabl

represented the witness and would respond to the Special Counsel on May 21, 2018. Id. The

                                                                                     Id.

       Despi

on May 21, 2018. Id. ¶ 5. Instead, the Special Counsel emailed Attorney 1 a second set of

subpoenas on May 23, 2018, for the witness to testify and produce documents on June 1, 2018.

Mot. Compel, Ex. B, Grand Jury Subpoenas, dated May 23                                     s

No. 1-2. Two days later, the Special Counsel, having received no response from Attorney 1,

again emailed Attorney 1 to confirm receipt of the second subpoenas. Mot. Compel ¶ 7.

Attorney 1 responded by requesting additional time to comply given the volume of responsive

documents. Id.

                                                    pearance to June 8, 2018. Id. Attorney 1 did not

acknowledge this schedule change, and on May 31, 2018, the Special Counsel contacted

                                                                                               Id. ¶ 8.

Attorney 1 expressed co



7
       Attorney 1 is Alicia Dearn of the law firm Bellatrix P.C.

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response, the Special Counsel agreed that the witness need not produce the identified materials.

Id. ¶¶ 8                                                                                 oena

required.

           On June 5, 2018, the Special Counsel emailed Attorney 1 new subpoenas reflecting the

June 5, 2018, production date and the June 8, 2018, appearance date. Id. ¶ 10; see also generally

Mot. Compel, Ex. C, Grand Jury Subpoenas, dated June 8, 2                           s

1-

                                                                       Mot. Compel ¶ 11. On

June 8, 2018, the witness again failed to appear before the grand jury. Id. ¶ 12. An FBI agent

informed the witness by phone that the witness was scheduled to appear before the grand jury,

but the witness stated that he was not in Washington, DC, and that his attorney handled matters

related to his grand jury appearance. Id.

           When the witness failed to appear a second time, the Special Counsel emailed Attorney 1

on June 11, 2018, at approximately 8:50 a.m., requesting that Attorney 1 contact the Special

                                                        Id. ¶ 13. The Special Counsel reiterated



show cause as to why [the witness] should not be held in

respond by 9:00 a.m. the next day. Id. ¶ 14. At 9:07 a.m. the next day, Attorney 1 informed the

Special Counsel that she would provide correspondence within an hour, but by 12:44 p.m. had

failed to do so. Id. ¶ 15. In response to another request from the Special Counsel, Attorney 1



                                                                                                s of

noon the following day. Id. ¶¶ 15 16.



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       On June 13, 2018, the Special Counsel moved to compel and for an order to show cause

why the witness should not be held in contempt for failure to appear before the grand jury. Id. at

1. As ordered by the Court

June 14, 2018, styled as a motion to quash, or in the alternative, to modify the grand jury

subpoenas due to burdensomeness. See generally                     First Mot. Quash, ECF No. 4. The

Spe

¶ 3, ECF No. 3, and the parties appeared for a hearing on their motions on June 18, 2018, at



moot, and directed the witness to appear before the grand jury on June 28, 2018 and to perform

the agreed-upon searches.

       On or about June 28, 2018, the witness retained additional counsel, Attorney 2, who on

June 28, 2018, filed a motion t



appointment violates the Appointments Clause of the U.S. Constitution on the grounds that (1)

the Special Counsel is a principal officer who had not been appointed by the President upon




10.8

a motion recently filed by a defendant, Concord Management and Consulting LLC, in a criminal

case being prosecuted by the Special Counsel in this Court. Id. at 2 (citing United States v.

Internet Research Agency, LLC, et al., No. 18-cr-32, Mem. Points & Authorities Supp. Def.




8
       Attorney 2 is Paul Kamenar of the Law Office of Paul D. Kamenar.

                                                    22
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June 25, 2018), ECF No. 36).9 The Court imposed a scheduling order, requiring the parties to

appear for an in-person status hearing on June 29, 2018. See Minute Order (June 28, 2018).



pending Motion to Quash. See Minute Order (June 29, 2018). The witness raised for the first

time in his reply brief a new argument against the lawfulness of t




General. See                          Supp.

Following a hearing on July 18, 2018, and supplemental filings by the parties to address



II.      LEGAL STANDARD

                                                        may quash or modify [a] subpoena if compliance

                                                 FED. R. CRIM. P. 17(c)(2).

was applied for and issued under the signature of unauthorized persons would constitute a

cognizable claim of und                                          In re Sealed Case, 827 F.2d 776, 778 (D.C.

Cir. 1987); accord In re Sealed Case, 829 F.2d 50, 53 55 (D.C. Cir. 1987) (same).




9

See LCrR 47(e). Th
own 21-
                                                         . Agency, 456 F. Supp. 2d 46, 53 (D.D.C. 2006),    , 530
F.3d 980 (D.C. Cir. 2008); see also Davis v. Pension Ben. Guar. Corp., 734 F.3d 1161, 1167 (D.C. Cir. 2013)
                                                                                       . . . as this would

                                                                                                                   s
arguments to determine which apply here poses little difficulty, however, as the witness and Concord raise
overlapping, if not entirely identical, arguments that turn on pure issues of law common to both litigants rather than
facts peculiar to them. Thu


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III.   DISCUSSION



appointment under the Appointments Clause. The witness argues that the Special Counsel is a

principal officer who must be, but was not, nominated by the President and confirmed by the

                                                                        s that if the Special Counsel



Id. at 8. Finally, the witness posits, even if Congress statutorily authorized the

appointment, the DAG did no




dism

                         10 n.5, ECF No. 18. As explained in further detail below, beginning

                                                                               il.

       A.



motion to reconsider [the w

good cause for [the



                                                                                     rtain it at this

            Id.

                                    Leidos, Inc. v. Hellenic Republic, 881 F.3d 213, 217 (D.C. Cir.

2018) (internal quotation marks omitted).




                                                 24
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                                                                                                -of-

powers conce                                                                             Freytag v.

         of Internal Revenue, 501 U.S. 868, 878 79 (1991) (internal quotation marks omitted).



                                  .                                                    Id. at 879.



            constitutional authority,

in his initial motion. Id.

        Blair v. United States

question about the constitutionality of the statutes under which the gran

                                                                                     does not dictate

a result contrary to that the Court reaches here. The grand jury witnesses in Blair did not

challenge the lawfulness of the grand j                    of

constitutionality of a statute the alleged violations of which the grand jury was investigating. Id.

at 277. Here, in contrast, the witness does not allege that the grand jury is investigating

violations of an unconstitutional statute, but rather challenges the constitutionality of the Special



Class v. United States                                             not, by itself, bar direct appeal of




the claim were successful.                         06 (2018) (internal quotation marks omitted).

Class, to be sure, involved a criminal defendant facing imprisonment, supervised release, and the

attendant relinquishment of certain rights, id. at 802, rather than a request merely to testify before



                                                 25
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the grand jury. Yet, if Class and the instant situation are not on all fours with one another, nor

are they altogether different. The witness here may face imprisonment for contempt should he



                                                          seek to compel his compliance with grand jury

subpoenas or to hold him in contempt for failing to comply. See id. at 806. Even construing the

                         tion to quash as a motion to reconsider, as the Special Counsel urges, the



         B. The Special Counsel is an Inferior Officer

         The witness contends that the Special Counsel is a principal officer, who was neither

nominated by the President nor confirmed by the Senate, and thus was appointed in violation of

the Appointments Clause of Article II. See Witness Mot. at 14.10 Article II distinguishes

between principal and inferior officers in prescribing the manne

See U.S. CONST. art. II, § 2, cl. 2. Under the Appointments Clause, the President

         shall nominate, and by and with the Advice and Consent of the Senate, shall appoint
         . . . all [Principal] Officers of the United States, whose Appointments are not herein
         otherwise provided for, and which shall be established by Law; but the Congress
         may by Law vest the Appointment of such Inferior Officers, as they think proper,
         in the President alone, in the Courts of Law, or in the Heads of Departments.

Id. This two-



approved by the President and Senate or else are responsible to such officers. Edmond, 520 U.S.

at                                                                   the process of presidential nomination

and senatorial confirmation the so-



10
         The Special Counsel does not dispute that he is an officer of the United States. See
Indeed, if the Independent Counsel at issue in Morrison was held to be an inferior officer, 487 U.S. at 672, little
doubt exists that the Special Counsel is at least an officer as well.

                                                          26
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to outweigh the benefits of the more cumbersome procedure only with respect to the appointment

                              Id. at 660

that is far from clear, and the Framers provided little guidance into where it should be dr

Morrison, 487 U.S. at 671. Morrison identified four factors a court considers in determining




                                                                        Id. at 671 72.

         Edmond clarified that the first of these factors

by a higher . . . official       is by far the most                                                                   -




nomination with

Edmond

officer or officers below the President:                                                          pends on whether

                         Id. at 662; accord Free Enter. Fund v. Pub. Co. Accounting Oversight Bd.

     PCAOB                                                    Edmond to conclude that officials were inferior

rather than principal due to the
        11
             Indeed, Edmond held that an officer with a presidentially-nominated, Senate-confirmed

superior is inferior even if all three other Morrison factors


11
        Edmond
circumstances might exist in which an officer who has a superior nonetheless is a principal officer. More recently,
however, the Supreme Court has reiterated Edmond

                     PCAOB, 561 U.S. at 510 (quoting Edmond, 520 U.S. at 662 (alterations and internal quotation
marks omitted)); but see United States v. Libby                                                       Morrison nor
Edmond established a bright-line test under which Appointments Clause challenges are resolved . . . . Neither case
states explicitly, nor even suggests, that the factors relied upon are exclusive . . . . Edmond did not reject the validity
of the Morrison

                                                            27
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jurisdiction, and tenure   weigh toward principal officer status. 520 U.S. at 661 62 (concluding



two [Morrison factors                                                          and that such



       The witness contends that the Special Counsel is a principal officer who was neither

nominated by the President nor confirmed by the Senate, and thus was unconstitutionally

appointed. See Witness Mot. at 14. As explained in more detail below, however, the Attorney



the Special Counsel an inferior officer. Edmond, 520 U.S. at 663. To the extent relevant, the

remaining three Morrison factors each weigh in favor of inferior officer status. Nor does the

breadth of the authority the Special Counsel wields negate his inferior officer status. The

            gument that the Special Counsel is a principal officer thus does not pass muster.

       1.

       The primary criterion to determine principal-inferior officer status is whether an officer

      ected and supervised at some level by others who were appointed by Presidential

                                                         Id. at 663. Edmond

                                                                                tantial supervision

and oversigh                                who is, or                    , a principal officer; (2)




decision

Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd., 684 F.3d 1332, 1338 (D.C. Cir. 2012)

(citing Edmond, 520 U.S. at 664 65).



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          At the outset, determining

supervise the Special Counsel requires looking solely to statutes, rather than to any regulations,
                                                                                                                12
which can neither augment nor detra                                                                                  Any

authority the Attorney General might claim under the Special Counsel regulations beyond that

which statutes already grant him would be invalid, and the regulations themselves ultra vires, as

the Attorney General cannot give himself greater powers than statutes already provide. See, e.g.,

Bowen v. Georgetown Univ. Hosp.

                                                                                     is limited to the authority



                                                                                                                     Cent.

United Life Ins. Co. v. Burwell, 827 F.

                                        see also Rosenthal

cannot be delegated by a superior to an inferior. A principal conveys to his agent what he has,

and not

          At the same time, if statutes give the Attorney General power to direct and supervise the

Special Counsel, the regulations could not possibly diminish such authority, as the Attorney



12
                                                                                                                  tatutory
authority, not the regulations. See

600.10 of the regulat                                                           id. ¶ (d), do not themselves authorize

policies. See id.; 28 C.F.R. §§ 600.4 600.10; id. pt. 600 (citing 28 U.S.C. §§ 509 and 510 as authority for the
                             United States v. Manafort, No. 1:18-cr-83, 2018 WL 3126380, at *11 (E.D. Va. June 26,
2018)                                                                                regulations at issue here, but in the
Constitution and in the statutes that vest the authority to conduct criminal litigation in the Attorney General and
                                                                                   United States v. Manafort, No. 1:17-
cr-0201-01, 2018 WL 2223656, at *11 (D.D.C. May 15, 2018)

Special Counsels without relying at all on the current Special Counsel or similar regulations. See, e.g., Sealed Case,
829 F.2d at 52 53, 55 (Iran-Contra); Libby, 429 F. Supp. 2d at 28
United States v. Nixon, 418 U.S. 683, 694 & n.8 (1974) (Watergate).

                                                           29
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                                  the regulations at will, immediately and without notice or comment,

guarantees that he retains ultimate powers of direction and supervision. See 64 Fed. Reg. at

37,041

exempt from the usual requirements of prior notice and comment and a 30-day delay in the

                     see also United States v. Nixon



Morrison

could have removed [the Watergate Special Prosecutor] at any time, if by no other means than

amending or revoking the regulation defining his autho                       Sealed Case, 829 F.2d at 56



regulation remains in force. Subject to generally applicable procedural requirements, the

Attorney General may rescind this regulation at any time, thereby abolishing the Office of

Indepe

                                                                                                           Nixon,

418 U.S. at 695, but only to recognize that shackles the Attorney General may remove anytime,

                                                                                                                 Sveen

v. Melin, 138 S. Ct. 1815, 1823 (2018), the Attorney General voluntarily has limited his power

but unlike Ulysses, the Attorney General can unbind himself at will. If the regulations ever



Special Counsel who disobeyed directives, the Attorney General could rescind the regulations

immediately and direct or fire the Special Counsel as he wished. 13 The regulations reflect the


13
         To be sure, the Attorney General might incur a significant political cost for rescinding the regulations to
exercise greater control over, or remove without cause, the Special Counsel. Such reputational harm to the Attorney
General is cognizable only in the court of public opinion, not a court of law. The fact that a public official might get
egg on his face for making an unpopular decision is a feature, not a bug, of a constitutional system designed around

                                                          30
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PCAOB, 561 U.S. at 497, nor raise any separation of powers problems, being promulgated by the

                                                                                                  Morrison,

487 U.S. at 691. That the Attorney General can reassert his authority over the Special Counsel at

will shows that his authority was never genuinely restricted in the first place. The Attorney



                                 , the regulations cannot detract from any statutory authority the

Attorney General has to direct and supervise the Special Counsel.

        As explained in further detail below, governing statutes give the Acting Attorney General

broad authority to direct and supervise the Special Counsel. The Acting Attorney General has

delegated and can rescind all authority the Special Counsel enjoys, see 28 U.S.C. §§ 509, 510,

515(a); Appointment Order ¶¶ (b), (c), thus enabling the Acting Attorney General to oversee the

Speci



satisfies Edmond                                              inferior officer status. The regulations,

being rescindable at will, do not alter this conclusion, and if anything serve to emphasize the



therefore an inferior officer.

        a. The Attorney General Has Plenary Statutory Power of Direction and Supervision

        Governing statutes vest in the Attorney General broad power to oversee a Special




                                       New York v. United States, 505 U.S. 144, 168 (1992); see also PCAOB,


                                                     31
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Sectio



performance by any other officer                        . . . of the Department of Justice of any function

of the Attorney General        28 U.S.C. §§ 509, 510. Section 515(a), meanwhile, allows the



                                                   legal proceeding, civil or criminal, including grand

jury proceedings and proceedings before committing magistrate judges, which United States

                                                    Id. § 515(a). These statutes give the Attorney

General virtually p                                                          Intercollegiate, 684 F.3d at

1338, a Special Counsel and to countermand any action a Special Counsel takes, as the Attorney

General may at any time rescind a                                                                 ion.14

Should a Special Counsel take an action of which the Attorney General disapproves, the

Attorney General can withdraw his authorization to pursue the course of action and make his

own decisions in this area. A                                                    ender a final decision on

                                                                                                  Id. (quoting

Edmond                                                                                                      a

                                     rescind such authority at will give the Attorney General the

effective power to oversee, supervise, and countermand a Special Counsel in exercising such

authority.

         The Special Counsel is, if anything, more closely overseen by a Cabinet-level official

than were the Coast Guard Court of Criminal Appeals judges determined to be inferior officers

in Edmond. Supervisory power over those judges was split between the U.S. Court of Appeals


14
         The Attorney General invoked all three statutes in appointing the Special Counsel. See Appointment Order
(citing 28

                                                       32
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                                                                               rtation in his



                  Edmond, 530 U.S. at 664, 666. In contrast, the Special Counsel is supervised

and overseen directly and exclusively by the Attorney General. See 28 U.S.C. §§ 510, 515(a).

         Finally, the Attorney General may remove a Special Counsel. While no statute speaks



incident to the power of appoint        PCAOB, 561 U.S. at 509; accord Myers v. United States,

                           [The] constitutional principle [that] the power of appointment carried

                                                                                                 ,

                                                                   In re Hennen, 38 U.S. (13



would seem to be a sound and necessary rule, to consider the power of removal as incident to the

                          see also Sampson v. Murray, 415 U.S. 61, 70 n.17 (1974) (same);

Burnap v. United States

                     Reagan v. United States, 182 U.S. 419, 424 (1901) (describing Hennen

                            Parsons v. United States, 167 U.S. 324, 330

of congress in 1789, and the universal practice of the government under it, had settled the

questi                                                Myers

charge of and responsible for administering functions of government, who select their executive

subordinates, need in meeting their responsibility to have the power to remove those whom they

                            An Attorney General, having appointed a Special Counsel, thus has




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the power of remova                                                Edmond, 520 U.S. at 664.15 For these

                                        work is directed and supervised                    Acting Attorney

General, making the Special Counsel an inferior officer. Id. at 663; see also PHH Corp. v.

CFPB, 881 F.3d 75, 176 n.3 (D.C. Cir. 2018) (Kavanaugh, J., dissenting) (distinguishing the

                                              the traditional special counsels who are appointed by the




         b. The Attorney General Retains Broad Authority Under The Regulations to Direct
            and Supervise a Special Counsel

         Although, as explained above, the regulations are not relevant to a

status as an inferior or principal officer, even if they were, they would only confirm that a

Special Counsel f                                                                                    the Attorney

General exercises substantial direction and supervision over virtually every facet of a Special

                                                                                                                ecial

Counsel provide an explanation for any investigative or prosecutorial step, and [to] after review

conclude that the action is so inappropriate or unwarranted under established Departmental

                                                                           b). The Attorney General thus may

review and countermand any action a Special Counsel pursues. The regulations require the



                                          Id.16 The regulations also allow the Attorney General to



15

dereliction of duty, incapacity, conflict of interest, or [] other good cause, including violation of Departmental
                                                                                           infra.
16
                                                                                                  ct and supervise a

Fund, 421 U.S. 491, 504 (1975); accord McGrain v. Daugherty


                                                            34
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discipline and remove a Special Counsel. Id. § 600.7(d); see also id.

Counsel and staff shall be subject to disciplinary action for misconduct and breach of ethical

duties under the same standards and to the same extent as are other employees of the Department



       Other provisions of the regulations further reinforce that a Special Counsel is an inferior



                                                                                            either

approve or veto any expansion of jurisdiction a Special Counsel seeks. Id.



full power and independent authority to exercise all investigative and prosecutorial functions of

                              Id. § 600.6. Notably, U.S. Attorneys are subject to the Attorney



Attorney General                28 U.S.C. §§ 519, 547(5); see also id.




annual basis. 28 C.F.R. § 600.8(a). When making subsequent budget requests, a Special



                                                                                        it. Id. §

600.8(a)(2).

procedures, practices

practices, policies and procedures of the Department, including ethics and security regulations



                    Id. § 600.7(a).



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his or her investigation in conformity with the Departmental guidelines with respect to Urgent

           Id.

                                                                                           nd




generate national media or Congressional attentio        .S. ATTORNEY S MANUAL §§ 1-13.100, 1-



investigation, with the resulting opportunity for consultation, is a critical part of the mechanism

through which the Attorney General can discharge his or her responsibilities with respect to the

                                      40.

       The witness argues that Section 600.7(b)

General to countermand steps taken by the Spec



Concord Mem. at 32 33. The witness points to Section

                     as in, the Att



merely advisory, not mandatory. Concord Mot. at 32 (citing                                -CWA,

AFL-CIO v. Huerta,



                            (internal quotation marks omitted))); see also SAS Inst., Inc. v. Iancu,

                                                                                                ).

The witness further argues that Section



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                                                    used in a precatory rather than binding sense,

          we presume differences in language in same statutory provision to convey differences

in meaning. Concord Mem. at 32 (citing Henson v. Santander Consumer USA Inc., 137 S. Ct.

1718, 1723 (2017) (alterations and internal quotation marks omitted)); see also Lopez v. Davis,

531 U.S. 230, 240 41                                                   ,            contrasts with

                                                                   ,



the context of this provision in the regulatory scheme. Since Section 600.7(b) does not expressly

                                                                   ctions, the witness reads the

provision to allow the Attorney General merely to give a Special Counsel nonbinding advice and

inform Congress whenever the Special Counsel fails to heed that advice. For the reasons that

follow, however, Section 600.7(b), while no model of clarity, properly is read      in the context of

surrounding provisions and the historical background against which the regulations were

enacted   to allow the Attorney General to countermand a

                                                                                                 King

v. Burwell

words or phrases may only become evident when placed in                    Id. (quoting FDA v.

Brown & Williamson Tobacco Corp.

                       context

                                                                              y scheme, and fit, if

                                               Brown & Williamson, 529 U.S. at 133 (internal



ambiguous in isolation is often clarified by the remainder of the [] scheme because only one of



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the permissible meanings produces a substantive effect that is compatible with the rest of the

        Util. Air Regulatory Grp. v. EPA, 134 S. Ct. 2427, 2442 (2014) (internal quotation marks

omitted). In a

                                                                                                        Corley v.

United States, 556 U.S. 303, 314 (2009) (internal quotation marks omitted). 17

         As an initial matter, Section



be pursued is advisory rather than mandatory. See Am. Petroleum Inst. v. EPA, 684 F.3d 1342,

1348

                                                                          United States v. Montgomery, 462

F.3d 1067, 1069, 1070 n.2 (9t

                                                                       might be especially disposed to use

                                                                                                   United States v.

Paladino

           United States v. Smith, 282 F.3d 1045, 1048 (8th Cir. 2002) (concluding that the term

                                                                                    as a mandatory rather than

advisory meaning, notwithstanding the

                                                                                                as mandatory and

one as advisory); United States v. Anderson, 798 F.2d 919, 924 (7th Cir. 1986) (construing the



           McDonnell Douglas Corp. v. Islamic Republic of Iran, 758 F.2d 341, 347 (8th Cir.

1985) ( [T]he


17
         Although the cases cited in this paragraph concern statutory interpretation, the principles they express are
no less applicable to interpreting regulations.

                                                          38
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omitted)); Doe v. Hampton



                                                                          Bord v. Rubin, No. 97



                                                         y or a permissive direction. Rather, the



the regulations were enacted, commonly was used in both mandatory and advisory senses. See,

e.g., MERRIAM-WEBSTER S COLLEGIATE DICTIONARY

 owed, was obliged to, ought to        to express obligation, prop

added)); see also Antonin Scalia & Bryan A. Garner, A Note on the Use of Dictionaries, 16

GREEN BAG 2D 419, 423 27 (2013) (identifying Merriam-                                       (10th



period 1951                                                                  eral courts have



permissive meaning. See Montgomery, 462 F.3d at 1070; McDonnell Douglas Corp., 758 F.2d

at 347; Bord, 1998 WL 420777, at *5.



so inappropriate or unwarranted under established Departmental practices that it should not be

                            b) (emphasis added), parallels Section 600.

                                                                                            id. §



with a proposed action over the Attorney

                                                       id., to remove the Special Counsel. As



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                                                       Edmond



incentivizing strongly a

28 C.F.R. § 600.7(b). The authority to tell a Special Counsel to refrain, upon pain of removal,

from taking a particular course of action is in substance a power to countermand a Special



necessary to make a Special Counsel an inferior officer.

       To be sure, although the Attorney General may advise against an action that violates

                           id. § 600.7(b), the Attorney General may remove a Special Counsel

                                           id. § 600.7(d). Not all Department of Justice practices



not itself warrant removal. However, whether a practice is so established as to constitute a

policy, such that the practice                  fies removal, is itself a judgment call the regulations

                                                            See id. §§ 600.7(d), 600.10. Moreover,

the Attorney General has authority to establish new departmental policies violation of which

would just                                Id.



rising to the level of a violation of departmental policies. Id. The Attorney General thus has an

effective power to countermand a                        actions by threatening removal for defying

                                                ion should not be pursued.




action by a Special Counsel should not be pursued, the Attorney General shall notify Congress as



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specified in                       .F.R. § 600.7(b). Section 600.9(a)(3), in turn, directs the



                            Id. § 600.9(a)(3). This provision ensures that the Attorney General

will be

the Attorney General to refrain from interfering unnecessarily. To read Section 600.7 to give the

Attorney General no ability to countermand a Special Counsel, through the implied threat of

removal for taking an action the Attorney General disapproves, would mean the Attorney



                                                       tigation has ended. By that time, however, a

Special Counsel will be out of office, and thus largely unaccountable to Congress for actions he

                                                   A Special Counsel, knowing Congress will not

learn of his defiance until he already has left office, thus would have little incentive to heed the



600.7(b) thus would misalign (1) the authority to decide whether to proceed with an action and



on an officer who no longer holds office.

          A comparison of the regulations at issue to those that governed the Watergate Special

Prosecutor and to the statutory provisions that governed the Independent Counsel reinforces that

the Attorney General may countermand a Special Counsel through the threat of removal. The

Watergate Special Prosecutor regulations, while in many other respects similar to the instant

regulations, contained several provisions wholly missing in the instant regulations, including that



                                                   or all matters falling within the jurisdiction of



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removed from his duties except for extraordinary improprieties on his part and without the

President s first consulting the Majority and the Minority Leaders and Chairmen and ranking

Minority Members of the Judiciary Committees of the Senate and House of Representatives and

                                                                          Establishing the Office

of Watergate Special Prosecution Force, 38 Fed. Reg. 30,738, 30,739 (Nov. 7, 1973). Likewise,

                                  provisions                       ey General, and all other

officers and employees of the Department of Justice [to] suspend all investigations and

                        matters the Independent Counsel was investigating, except as necessary

to assist the Independent Counsel. 28 U.S.C. § 597(a) (expired). The Special Counsel

regulations contain no language of this sort. Neither the Watergate Special Prosecutor



                                       s so inappropriate or unwarranted under established




Counsel regulations, on one hand, and the Watergate Special Prosecutor regulations and

Independent Counsel provisions, on the other hand, shows that 28 C.F.R. § 600.7 empowers the

Attorney General to countermand a Special Counsel as he could not have countermanded the

Watergate Special Prosecutor or Independent Counsel       by drawing a line in the sand as to which

actions the Special Counsel may pursue and removing a Special Counsel who crosses that line.



ultimate responsibility for the matter and how it is handled will continue to rest with the Attorney



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General (or the Acting Attorney General if the Attorney General is personally recused in the



                                                                                                 Id.



                Auer v. Robbins, 519 U.S. 452, 461 (1997). Even if Auer did not apply, the

                     understanding of how the regulations operate lends further support to the

notion that a reasonable person would read Section 600.7(b) as authorizing the Attorney General

to countermand a                     s actions. For these reasons, Section 600.7(b) properly is read

to allow the Attorney General to countermand, through an implicit threat of removal or else

through actual removal, a                          actions. As such, a

power to render a final decision on behalf of the United States unless permitted to do so by other

                      Edmond, 520 U.S. at 665.



                                                                          Concord Mem. at 35.



dereliction of duty, incapacity, conflict of int                             id. (quoting 28 C.F.R.

§ 600.7(d))                                                                           Morrison,



through the Attorney General, retains ample authority to assure that the [officer] is competently




                          Id. at 692 93.




                                                     43
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         The Supreme Court repeatedly

                                                                                                         See id. at

671

disability, mental incapacity, or any other condition that substantially impairs the performance of

                                                                               , to be an inferior officer);

Freytag

notice and opportunity for public hearing, for inefficiency, neglect of duty, or malfeasance in

                                                                                       United States v.

Perkins, 116 U.S. 483, 484 (1886) (holding naval service officers to be inferior officers and

uphol
                                                                                       18
the sentence of a court-                                                                     Bowsher v. Synar




                                                                                               see also Freytag,

501 U.S. at 912 (Scalia, J., dissenting) (noting that the statute governing Tax Court Special Trial

                                   l language). Section 600.7(b) is, if anything, more permissive than

the statutes upheld as constitutional in Morrison, Freytag, and Perkins.19


18
         Morrison

Attorney General to remove the Special Counsel
19
                                             PHH Corp. is instructive. Limiting the Consumer Financial

U.S

(Griffith, J., concurring in

understood or dictated by the President opera                                               Id. at 134. This standard,

                                                                ing] in the President sufficient supervisory power
                                     Id. at 134 35, 137. Section 600.7(d) is phrased no less broadly. The CFPB


                                                        44
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         Even Justice Scalia, whose words the witness cites, see generally

Concord Mem., would not have taken issue with Section 600.7(d). While Justice Scalia objected

to good-                                                                                                    s to



inferiority with subordination); id. at 719 (same); id.

                                                    officer                                          cause

                                                                                         , id. at 724 n.4.20 The

regulations satisfy this standard because, as explained above, Section 600.7(d) allows the




the Special Counsel a principal officer.21




U.S.C. § 54

the above reasons; the Special Counsel also may
                         Id.
20
                                                                                Perkins, 487 U.S. at 724 n.4, which,
as noted, affirmed the lawfulness of a statute l
21
         Even if Section

For example, PCAOB, having held unconstitutional limits on Public Company Accounting Oversight Board

restrictions and otherwise leave the Board operative. 561 U.S. at 508 10. With these restrictions invalidated,
PCAOB                                                 Edmond                                              Id. at 510.
Though PCAOB invalidated the removal restrictions before considering the Appointments Clause argument, there is
no reason to believe PCAOB would have reached a different result on the merits had it taken up the Appointments
Clause issue first. Intercollegiate, following PCAOB

principal officers, and that the proper remedy was to sever the for-cause removal provision, rendering such judges

                                                                     41 (internal quotation marks omitted).
Intercollegiate, like this matter, involved an Appointments Clause claim rather than a removal power claim. Id. at
1336 37. Later, PHH Corp., also following PCAOB                                          -cause restriction on the

rather than the CFPB. 839 F.3d at 38 39,                  , 881 F.3d 75 (D.C. Cir. 2018). Strengthening the case for
severing Section
fact that the removal provision here is a product of regulation, enacted against a statutory backdrop of unfettered
removal power. See PCAOB, 561 U.S. at 509; Myers, 272 U.S. at 119; Hennen, 38 U.S. (13 Pet.) at 259.

                                                         45
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         The wit



Edmond                                                                                             Counsel to

obtain the approval or permission of the Attorney General before making final decisions about

who to investigate, indict, and prosecute,

however, for the claim that an officer, to have infer

prior to making such investigative or prosecutorial decisions. Rather, Edmond suggested that a

                                       actions an inferior already has taken suffices to enable the

                                                                                            64. Indeed, officers
                                                                                                   22
held to be inferior make significant                                                                     To require a

superior officer personally to approve all significant decisions made by one

United States v. Germaine, 99 U.S. 508, 510 (1878), inferior officers he directs and supervises,

moreover, would be infeasible given the realities of modern governance. The Acting Attorney


22
         These include (1) members of the Public Company Accounting Oversight Boar

of audit work, the acceptance of new business and the continuation of old, internal inspection procedures,
professio
standards, performs routine inspections of all accounting firms, demands documents and testimony, and initiates
formal investigations and disciplina

with any registered firm, and money penalties of $15 million (                                   PCAOB, 561 U.S. at
485 (internal quotation marks omitted); (2) Coast Guard Court of Criminal Appeals judges, who render decisions in
      -martial proceedings that result in the most serious sentences, including those in which the sentence, as
approved, extends to death, dismissal, dishonorable or bad-
                      -
r
                                                           Edmond, 520 U.S. at 662 (alterations and internal
quotation marks omitted); (3) Tax Court

the deficiency or claimed overpayment does not exceed $10,000, Freytag, 501 U.S. at 873 (internal quotation marks

proceedings and other investigations, participating in civil and criminal court proceedings and litiga

prosecutions in any court of competent jurisdiction, framing and signing indictments, filing informations, and
handling all as                                                     Morrison, 487 U.S. at 662 (internal quotation
marks omitted).

                                                          46
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U.S.C. § 510, set out in the Appointment Order, so long as not withdrawn, constitutes the

                                                                                  s, indictments,

and prosecutions within the scope of the authority conferred. That a Special Counsel need not

                                                                                                        a



        Finally, the witness argues that because the regulations create no legally enforceable

rights, see

supervision of the Special Counsel,                                                  n    whether

the regulations (1) create enforceable rights and (2) have binding legal effect are separate issues.

                                                                             Nixon, 418 U.S. at

695. The regulations have legal effect even if t



investigations and prosecutions, In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1141, 1153

(D.C. Cir. 2006); see also id. at 1152 (collecting cases that held similar no-rights-creating

regulatory language to be effective, without concluding that such language stripped the

                                                                                          confer

                                                                                         Id. at 1153.

The regulations have binding legal effect even though they create no rights enforceable in a

private right of action.

        Morton v. Ruiz, which declared

incumbent upon agencies to follow their own procedures . . . even where the internal procedures

                                                                                                and



                                                   47
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which the witness cites, see Concord Mem. at 48, is not to the contrary. The regulations in Ruiz



                                   a               intended to bene

Judith Miller, 438 F.3d at 1154 (quoting Ruiz, 415 U.S. at 235).

applicability, id., to regulations that expressly disclaim any intent to create beneficiaries.

       More fundamentally, whether or not the regulations have binding legal force simply is



explained above, the Attorney General derives such authority from statute, not the regulations.

See supra Part III.B.1.a. Were the witness correct that Section               -enforceable-rights

language renders the regulations legal nullities, then, the Attorney General would retain plenary

power to supervise the Special Counsel under 28 U.S.C. §§ 509 and 510. In fact, the witness




                                             in monitoring the Special Counsel is exactly what

makes the Special Counsel an inferior officer. See Edmond, 520 U.S. at 663. For these reasons,

the Attorney General has broad powers

       2. The Other Morrison Factors All Weigh Toward Inferior Officer Status

       Given that th

whether the remaining three Morrison factors need be considered is doubtful in Edmond

PCAOB concluded that Public Company Accounting Oversight Board members are inferior

officers based solely on Edmond direction and supervision test, without considering any of the

remaining Morrison factors or even discussing Morrison at all. 561 U.S. at 510. PCAOB

asserted that Edmond



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              id. (alterations and internal quotation marks omitted), language that suggests no

other factor is relevant to the principal-inferior officer inquiry. Edmond itself concluded that

Coast Guard Court of Criminal Appeals judges were inferior officers based solely on their

direction and supervision by others, despite that all three of the remaining Morrison factors

weighed toward principal officer status. 520 U.S. at 661 66; see also NLRB v. SW Gen., Inc.,



Morrison in Edmond, it is difficult to see how Morrison s nebulous approach survived our

opinion in Edmond          .23 Nonetheless, gi                                                         whether

Morrison remains good law or is superseded by Edmond, the remaining Morrison factors

whether an officer is limited in duties, jurisdiction, and tenure, 487 U.S. at 671 72                 are

considered in turn. As exp

inferior officer status.

         a. Limited Duties

         As to the Morrison factor that assesses any limits on                                 , the Special



formulate policy for the Government                                           Id. at 671. The Special Counsel

may wield only such power as the Attorney Gen                                                            28 U.S.C.



investigation confirmed by then-FBI Director James B. Comey in testimony before the House




23
                                                                Edmond criticized the majority for holding that an
officer who has a superior is an
and concurring in the judgment), the majority did not indicate that Justice Souter had misunderstood its holding.

                                                         49
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duties, though broad, are limited   by statute, see

assertion otherwise, see Concord Mem. at 37      and include no policymaking power. By way of

comparison, the Independent Counsel



             dent and Vice President, Cabinet level officials, certain high-ranking officials in the

Executive Office of the President and the Justice Department, the Director and Deputy Director

of Central Intelligence, the Commissioner of Internal Revenue, and certain officials involved in



[other] persons . . . if an investigation by the Attorney General or other Department of Justice

                                                                                Morrison, 487 U.S.

at 660 n.2 (quoting 28 U.S.C. § 591(a) (c) (expired)). The                          thority is not

clearly greater                                s, and arguably is lesser.

       To be sure,              ,                 id. at 671, the Acting Attorney General has

authorized the Special Counsel to perform include significant investigative and prosecutorial

responsibilities, see Appointment Order ¶¶ (b), (c). That the

by no means implies that such duties are trivial. See Edmond, 520 U.S. at 662 (noting that

                             significant authority pursuant to the laws of the United States

(internal quotation marks omitted)). The question is not whether the Special Counsel

significant or trivial, however, but whether those duties are limited. See Morrison, 487 U.S. at

671. They are.

       The witness compares                                  to those of persons held to be inferior

officers in an effort to demonstrate that the Special Counsel   duties are greater, but this effort

falls flat. For example, the witness asserts that the Special Counsel              greater than



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those of the Independent Counsel because the Independent Counsel investigated only a single

                                    testimony . . . to Congress on a particular date. Concord Mem. at

36 (citing Morrison, 487 U.S. at 666 67). This is irrelevant, however, as Morrison determined

the                                                   looking to the breadth of her statutory authority

rather than to any particular investigation the Independent Counsel pursued. See 487 U.S. at 671

                              by the Act to perform only certain, limite              ); see also id.

              a]n                                  not the particulars of the investigation at issue

(emphasis added)). If the                                    are not too weighty to be vested in an

inferior officer, the same is tru

        Along these lines, the witness contends that the Special Counsel, unlike the Independent

Counsel, can formulate policy, which he has done

alleged electioneering activity on a theory . . . that has never been brought before in any reported

                                The ability to raise a novel legal theory, however, is not the same

as policymaking power, which, as discussed above, the Special Counsel lacks. See Appointment

Order ¶¶ (b), (c). At most, the witness could argue that the Special Counsel has made policy

without authorization. This argument would fail, however, as it mistakenly conflates setting

policy with merely raising a new legal theory. The witness also asserts, as to the Special



                                                            of Justice guidance requiring willfulness

for a charge under 18 U.S.C. § 371 of conspiracy to violate election laws based on alleged

                                                         Even assuming this allegation were true, such

conduct is not the same as formulating new policy.




                                                    51
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         In another comparison, the witness argues



                     whom the witness asserts are principal officers.                               at 15.24 The

witness does not explain why either of these officers are principal officers. The Supreme Court

has indicated, albeit in dicta, that a U.S. Attorney is an inferior officer, see Myers, 272 U.S. at

159, and at least two Circuits have agreed, see United States v. Hilario, 218 F.3d 19, 25 (1st Cir.

2000); United States v. Gantt, 194 F.3d 987, 999 (9th Cir. 1999).25

         Even assuming Assistant Attorneys General and U.S. Attorneys are principal officers,

this would not establish that the Special Counsel is a principal officer himself, as the witness

fails to show that the Special Counsel s duties are greater than, or even equal to, those of

Assistant Attorneys General or U.S. Attorneys. The                          assertion that the Special

Counse                                            U.S. Attorneys rests on the claim that the Special

Counsel (1)                                        and (2) can seek indictments of foreign citizens and

                                                                                       Witness Mot. at 15.

Both are true of U.S. Attorneys as well

                              S.C. § 547(1), including for offenses committed by foreign citizens and

corporations. The Special Counsel, in contrast, is authorized to investigate and prosecute a far

smaller set of offenses. See Appointment Order ¶¶ (b), (c). Although a U.S. Attorney may only


24
        Elsewhere, the witness asserts that the Special Co                           greater than those of Assistant
Attorneys General. See
                                                                      14. This claim is incorrect; as explained
above, the Attorney General exercises significant oversight and control over the Special Counsel.
25
         The witness concedes that an interim U.S. Attorney appointed by a district court may be an inferior officer,
bu
                                                                                                  28 U.S.C. § 546(d).
A Special Counsel, mea                                                                                      Morrison,
487 U.S. at 672. In any event, if an officer who wields the power of a U.S. Attorney cannot be an inferior officer, as
the witness insists, an interim U.S. At                                                                         ad
hoc

                                                         52
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prosecute defendants over whom venue lies                                 28 U.S.C. § 547(1); see also

U.S. CONST. amend. VI; FED. R. CRIM. P. 18, this limit does not significantly restrict a U.S.

            investigative authority, given the ability to refer an investigation to another U.S.

Attorney for prosecution, see U.S. ATTORNEY S MANUAL § 9-27.200 (instructing attorneys to



               26
                    Meanwhile, the witness does not explain how a Special Counsel is greater than

or equal in duties to an Assistant Attorney General at all, other than a conclusory assertion that

both wield significant power. See

        As a final comparison, the witness argues that the Special Counsel is more powerful than

Copyright Royalty Judges, whom Intercollegiate held to be pri

                                               at 16. Intercollegiate held Copyright Royalty Judges to

be principal officers because (1) the Librarian of Congress and Register of Copyright

               f[e]ll short of the kind that would render [such judges                                such

         removal was limited to misconduct or neglect of duty, and (3) no official could

countermand                   decisions. 684 F.3d at 1339 40. As discussed above, the Special

Counsel differs from the Copyright Royalty Judges by satisfying all three of these factors.

        b. Limited Jurisdiction

        As to the next Morrison factor                                                                    .

487 U.S. at 672. Morrison reasoned                 ot only is the [EIGA] itself restricted in

applicability to certain federal officials suspected of certain serious federal crimes, but an

independent counsel can only act within the scope of the jurisdiction that has been granted by the


26
        Although Section 9-27.200 specifically contemplates circumstances in whic
                                                                                                      U.S.
ATTORNEY S MANUAL § 9-27.200, the attorney also may deem referral to be warranted where the attorney believes a
person has committed a federal offense outside her or his jurisdiction.

                                                      53
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Special Division pu                                                 Id. A Special Counsel likewise

can act only within the scope of the jurisdiction the Attorney General granted through the

Appointment Order and any additional jurisdiction the Attorney General chooses to confer. See

Appointment Order ¶¶ (b), (c). A U.S. Attorney, who can investigate and prosecute any federal

crime, 28 U.S.C. § 547(1), has far broader jurisdiction.

                                                                      tion in Morrison focused on a

single person, who was then out of government, and that the Attorney General had conducted his

own preliminary investigation prior to

was necessary. Concord Mem. at 38. Morrison, however, determined that the Independent

           jurisdiction was limited solely by assessing the scope of the

formal investigatory and prosecutorial powers, not who or how many targets the Independent

Counsel investigated or whether the Attorney General conducted any prior investigation. See

487 U.S. at 672. The witness further notes that the Attorney General enjoyed unreviewable

discretion to decline to allow the Independent Counsel to investigate other officials. Concord

Mem. at 38. A

delegate to a Special Counsel certain responsibilities but not others

                                          likewise is unreviewable.

       c. Limited Tenure

       The final Morrison factor also weighs in favor of inferior officer status because the

                                              .

                                                        Morrison



single task, and when that task is over the office is terminated, either by the counsel herself or by



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action of the Special Divisio     Id.                                  the

no ongoing responsibilities that extend beyond the accomplishment of the mission that she was

                                                                             Id. The Special Counsel

                                                            id.

confirmed by then-FBI Director James B. Comey in testimony before the House Permanent

                                                                                      ral crimes arising

from the i                                   Appointment Order ¶¶ (b), (c).

position will be                Morrison, 487 U.S. at 672, once this task is complete.

        To conclude that the Special Cou                              rary in the sense that the Special

Counsel      office                         id., does not conflict with recognizing the Special

Counsel as an officer of the United States, who                       continuing             Lucia, 138

S. Ct. at 2051 (internal quotation marks omitted, emphasis added). Lucia suggested that one

holding a                position may not qualify as an officer at all, but only as an employee. Id.

 Temporary has a somewhat different meaning in the context of Morrison                        -inferior

officer test than in the context of Lucia           -employee test, however; indeed, if the term

                                                           Morrison                               would

always weigh toward principal officer status, as a determination that one is an officer in the first

place requires                                        is                      Instead, for purposes of

determining whether an officer is principal or inferior, a position                       limited in

duration, i.e., the position                                  . Morrison, 487 U.S. 672. For

purposes of determining whether one is an officer of any kind, however, a position is

              if                        are                                   Germaine, 99 U.S. at 512

                                                                  Freytag, 501 U.S. at 881. Germaine,



                                                    55
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for example, held that a

Pensions in some special case, as when some pensioner or claimant of a pension presents himself

for examination, was a mere employee rather than an officer. Germaine, 99 U.S. at 512. The



                Morrison, 487 U.S. 672, but it is not occasional, intermittent, or episodic, as the

                                          ing and regular until complete.

        The witness argues that                                             -reaching and could involve

countless lines of investigation, many of which . . . are far afield from the Russian government

                                                                Mem. at 39, but that is neither here nor



Morrison

statute or regulation      the investigation will apparently continue until the Special Counsel



Independent Counsel. Morrison, 487 U.S. at 672.

                                             *      *       *

        In sum, the remaining Morrison factors, i

inferior officer status.

        3.
             and Functions

        On a final note, not satisfied with the outcome under the Morrison or Edmond tests, the

witness has come up with his own test for identifying principal officers under the Appointments

Clause. Specifically, he contends that some officers have                              that, whatever

the chain of command might be, are too significant to bear the

at 17. The Special Counsel, the witness contends, is such an


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prosecutorial power that he must be a principal officer, even if he otherwise satisfies Edmond

and Morrison.                   at 14.

difference here, as the degree of power the Special Counsel enjoys is entirely consistent with

inferior officer status, for the reasons explained above.               proposed test should not

be adopted, however, as that test runs contrary to binding precedent, is historically unsound, and

supplies no determinate, judicially-manageable rule of decision.



argument. Edmond

directed and supervised at some level by others who were appointed by Presidential nomination



no room for exceptions    one who satisfies each element of the definition is an inferior officer.

Edmond                    [g]enerally speaking



                                                 Id. at 662.

speaking,

                                                                     24. However, PCAOB later

omitted the term                                    in characterizing Edmond to have

                                            ds on whether he has a superior. 561 U.S. at 510

(alterations omitted). Thus, even if Edmond suggested possible

                   PCAOB clarified otherwise. The witness no                             Edmond




officer



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                views thus are not the law.

       Aside from Justice Sout        Edmond concurrence, the witness cites no case law to

support his proposed test. The witness raises several historical arguments, but none have merit.

First, the witness notes that when the Excepting Clause was proposed at the Constitutional

Conventi

Superior Officers below Heads of Departments ought in some cases to have the appointment of

the                   THE RECORDS OF THE FEDERAL CONVENTION OF 1787, at 627 (Max Farrand

                     RECORDS     (emphasis added). Gouverneur Morris responded,

necessity. Blank C                             Id.

                         id., the witness infers that the Framers contemplated principal officers

directed and supervised by other principal officers, meaning

direction and supervision does not necessarily make one an inferior officer

20. The witness also contends                                                      were understood

                                               Id. Justice Scalia also read

                                                      sufficient

status that one be subordinate to a principal officer. Even an officer who is subordinate to a

                                               Morrison, 487 U.S. at 722 (Scalia, J., dissenting).

       Put aside that the Constitut



                                                                       id. at 720, that the term



                                id.                                                id., and that



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there is little indication that anyone at the Convention but Morris agreed with Madison. The

                                                 that

exclusive groups, such that a superior officer necessarily is not an inferior officer and vice versa.

See id.

                                                        ). A thing can be both superior and inferior at the



                                                                            Ocasio v. United States, 136 S. Ct.

1423, 1441 (2016); see also Electromation, Inc. v. NLRB, 35 F.3d 1148, 1162 (7th Cir. 1994)

                                                                               t and the object for their

                                                         Ms. A directs and supervises Ms. B, who directs

and supervises Mr. C. One fairly could say that Ms. B is both a superior officer and an inferior

officer, as she directs and supervises Mr. C and is herself directed and supervised by Ms. A. If

                                                                                                 Edmond, 520 U.S.

                                                                                 similarly depends simply on

whether one has an inferior. For any chain of command, everyone but the person at the very top

and the person at the very bottom can be both superior and inferior, with only the person at the

very top being a solely superior officer (i.e., a principal officer) and only the person at the very

                                                                      thus provide no basis to conclude that

the degree of power an officer wields, rather than where an officer falls in the chain of command,

determines principal or inferior office status. 27


27
                                         Morrison                                                            sufficient


majority opinion in Edmond, which otherwise adopted the principal-inferior officer test Justice Scalia had proposed
in Morrison, did not include this qualifier, but instead articulated a clearer bright-line rule. Nor could this have been
                                 Edmond                                                                   essary for


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         Second, the witness argues that during the Founding Era, English and state courts often

                              or                                                                          -matter

jurisdictions, without regard to whether they reviewed or were reviewed by other courts.



                                   , 66 IND. L.J. 457, 466 72 (1991)). The Constitution, however, uses



                                                                  Morrison, 487 U.S. at 719 (Scalia, J.,

                                                                                                                 me



                                                                                            U.S. CONST. art. III,

§§ 1,

jurisdiction, see id. § 2, cl. 2, such exceptions are, by definition, exceptional rather than the rule.



                                                                                          THE FEDERALIST NO.

81, at 485 n.*, 486 (Alexander Hamilton) (Clinton Rossiter ed., 1961). In Federalist No. 82,

meanwhile, Hamilton variously referred to the in



                                                               THE FEDERALIST NO. 82, at 492, 494 95

(Alexander Hamilton) (Clinton Rossiter ed., 1961)

                                                                                  or more

                           (quoting 1 RECORDS, supra, at 21 (emphasis added)). Putting aside that



                                                                                          Morrison back at him, to no
avail. See id. (citing Morrison, 487 U.S. at 722 (Scalia, J., dissenting)). Perhaps Justice Scalia had come to
reconsider this aspect of his Morrison dissent.

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                                                                                        U.S. CONST. art. III, § 1,

having                                       is no less consistent with hierarchy and subordination than

is having multi                       epartments id. art. II, § 2, cl. 2. Multiple courts each can be

                                                                                        and none have appellate

jurisdiction over one another. Historical evidence thus shows that Article III used the terms

                                                                          that Article II did so as well.

                                                                [of] treating Deputy and Assistant Cabinet

Secretaries as Princip[al]                                       t 19, but fails to support this assertion with

any authority.28 The                                                                                   DAG, the

Solicitor General, the Assistant Attorneys General, and non-interim U.S. Attorneys are principal



                        Id. This litigation presents no need to determine whether any of these

officers are principal or inferior, as the                                                   a Special Counsel

gives the Attorney General greater direction and supervision over a Special Counsel than over

any of these officers. See supra Part III.B.1.a.29

         The witness claims that some officers are so important that they



                   at 14. Congress, however, is free to                                       appointments to the

advice-and-consent process          this, indeed,

            Edmond, 520 U.S. at 660. Should Congress decide that an officer whose appointment




28

th                                                                              -sequitur the fact that only the
President can remove a Cabinet Secretary cuts in favor of, not against, Cabinet Secretaries being principal officers.
29
         The same is true with                                                                                    -
Intercollegiate

                                                          61
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                                                U.S. CONST. art. II, § 2, cl. 2, should instead be subject

to senatorial confirmation, Congress is free to pass a law to that effect.

impeach likewise is not textually limited to principal officers. See id. art. I, §§ 2, cl. 5, 3, cl. 6,

art. II, § 4.30 Finally,                                                                              their

direction and supervision in

advice and consent of the Senate. Edmond, 520 U.S. at 663; see also Morrison, 487 U.S. at 724

                                                                                         i.e., subject to the

supervision of, principal officers who (being removable at will) have the Presiden



                                                                                                                   ,

indeterminate, and unadministrable to provide a workable standard for resolving disputes over

who is an inferior officer. How much power, exactly, an officer must wield before ceasing to

qualify as inferior is not only unclear but in any realistic sense altogether unknowable. The

witness                                           produce not coherent, consistent analysis but a body of

                                                                Smith v. Allwright, 321 U.S. 649, 669




30
                                                                                         be removed from Office on
                                                                                                     U.S. CONST. art.
                                                                                                                sed in
Sections 2 and 3, are coextensive is an unsettled question. Joseph Story, writing in Commentaries on the
Constitution of the United States, believed th
who hold their appointments under the national government, . . . in the highest or in the lowest departments of the
                                                                      JOSEPH STORY, COMMENTARIES ON THE
CONSTITUTION OF THE UNITED STATES § 792, at 558 (Thomas M. Cooley ed., 4th ed. 1873) (1827). Likewise, early
American lawyer William Rawle asserted that those subject to impeachment include
                                  WILLIAM RAWLE, A VIEW OF THE CONSTITUTION OF THE UNITED STATES OF
AMERICA 213 (2d ed. 1829) (1825). The view that impeachment extended to all officers of the United States was
not unanimous, however. At the North Carolina Ratification Convention, for example, Archibald Maclaine asserted

                                                                                          JONATHAN
ELLIOT, THE DEBATES IN THE SEVERAL STATE CONVENTIONS ON THE ADOPTION OF THE FEDERAL CONSTITUTION
43


                                                         62
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(1944) (Roberts, J., dissenting). Indeed, the                             is plagued by the very same

characteristic Justice Scalia criticized in Morrison

                ungoverned

                                      487 U.S. at 712, 733 (Scalia, J., dissenting).

           The witness offers little guidance on this front, variously asserting that an officer cannot

                                                                                          at 14; see

also id.



Attorneys, the Deputy and Assistant Cabinet secretaries, or lower fede                         id. at 17;

see also id.



                                               id.                             id. at 19, 20. Other

                                                                  exercis[es] much more power than



                      id.

                            id.

                                                      y circular, failing to provide any guidance

whatsoever as to which powers are too great for an inferior officer to wield. The witness

acknowledges that, as Edmond

laws of the United Stat

                                                                                               id. at 23

                                                                                             t marks

officer status and the extraordinary authority and power that marks principal rather than inferior



                                                     63
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                 id.

                                                  at 17. This is an understatement. To thread the



enjoy, Edmond



                                                                         angels dancing on the head of

        Kedra v. Schroeter, 876 F.3d 424, 446 n.17 (3d Cir. 2017). 31

        The need for objective, determinate, and administrable rules to differentiate between

principal and inferior officers is particularly pressing given the role principal officers can be

called upon to play at times of national emergency. The Twenty-Fifth Amendment provides:

        Whenever the Vice President and a majority of either the principal officers of the
        executive departments or of such other body as Congress may by law provide,
        transmit to the President pro tempore of the Senate and the Speaker of the House
        of Representatives their written declaration that the President is unable to discharge
        the powers and duties of his office, the Vice President shall immediately assume
        the powers and duties of the office as Acting President.

        Thereafter, when the President transmits to the President pro tempore of the Senate
        and the Speaker of the House of Representatives his written declaration that no
        inability exists, he shall resume the powers and duties of his office unless the Vice
        President and a majority of either the principal officers of the executive department
        or of such other body as Congress may by law provide, transmit within four days
        to the President pro tempore of the Senate and the Speaker of the House of
        Representatives their written declaration that the President is unable to discharge
        the powers and duties of his office. . . .

U.S. CONST. amend. XXV, § 4 (emphasis added). The Twenty-Fifth Amendment was ratified

                                                                                      with . . . concerns

over the heal                                                                    ONG. RES. SERV.,




31
                                                                 -
Lucia, 138 S. Ct. at 2051. However, the indeterminacy of asking merely
              id.
not

                                                      64
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RS20260, PRESIDENTIAL DISABILITY: AN OVERVIEW 3 (July 12, 1999). In particular, the



              Id. Section 4 authorized Congress to designate by law a body to determine, along



duties. U.S. CONST. amend. XXV, § 4, cl. 1. Section 4 did not assume that Congress would



                                           Id.

       The delicacy and urgency of any circumstance in which Section 4 would be invoked

creates great need for a conclusive and easily-administrable test to determine speedily who is and

                          [] id., entitled to vote on questions of presidential removal. Any

delays in the Section 4 process to deliberate at length over whether one or more particular

officers are entitled to participate could exacerbate and extend the crisis over presidential

leadership, while any lingering uncertainty as to whether any officers who participated in that

process were entitled to do so inevitably would cast a pall of illegiti

tenure, especially if the vote on removal was decided narrowly. While the political question

doctrine might shield the Section 4 process from any judicial review, see Baker v. Carr, 369 U.S.

186, 217 (1962) (

without expressing lack of the respect due coordinate branches of government; or an unusual

need for unquestioning adherence to a political decision already made; or the potentiality of



contexts in which a dispute might raise non-judicially reviewable political questions), judicial

                        hardly would erase the stain of illegitimacy a suspect Section 4 process

might leave on the public imagination.



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          Edmond                                                , while not altogether free of indeterminacy in

close cases, is far more amenable to straightforward and conclusive application than the

            nebulous                         powers standard,                                  , which requires

helplessly subjective judgment calls as to just how much power is too much for an inferior

officer to wield.32 Edmond test thus facilitates a quicker and more certain identification of



particular kind of national crisis this constitutional amendment guides.

test, in contrast, would only exacerbate and prolong confusion during such times, and potentially

cast doubt on the legitimacy of an                          eventual resolution. The Twenty-Fifth

Amendment thus provides additional reason to believe Edmond                                            -line principal-

inferior officer                                                                                         indeterminate

standard.33

                                                   *        *         *




32

Opinion
                                                                                                   U.S. CONST. art. II,
                           roposed principal-inferior officer test would generate confusion as to whom the Opinion
Clause covers, although such confusion would be less problematic than that which would arise in the Twenty-Fifth
Amendment context, as the President could always obtain
principal officer to procure an opinion from her subordinate, or else by directing the relevant principal officer to
                                                                                    however far down the chain of
command is necessary. Uncertainty as to which officers are entitled to vote on questions of presidential removal, in
contrast, has far more dire implications.
33
                                                                         500 Executive Branch officials could be
                                                    .              24:7 16. When confronted with the Twenty-Fifth
                                                                                                           ng that such

distinct from principal and inferior officers. Id. at 27:11 28:22. This argument, which the witness raised for the
first time at oral argument, fails because the Constitution recognizes no distinct third category of non-principal, non-

but such an officer necessarily also either (1) is directed and supervised by another, and thus inferior, or (2) is not,
and thus is a principal officer. Thus, all officers are principal or inferior.

                                                            66
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His appointment, without presidential appointment and senatorial confirmation, thus did not

violate the Appointments Clause.

         C.
              General

         The Excepting Clause                                         may by Law vest the Appointment of

such inferior Officers, as they think proper, in the President alone, in the Courts of Law, or in the

                              U.S. CONST. art. II, § 2, cl. 2. The witness argues that if the Special

Counsel is an inferior officer, he was not properly appointed as such because Congress has not

              id., vested in the Attorney General the power to appoint a Special Counsel. This is

incorrect, as two statutes      28 U.S.C. §§ 515(b) and 533(1)            vest in the Attorney General the

power to appoint a Special Counsel. 34

Excepting Clause.

         1. 28 U.S.C. § 533(1)




                                       The DAG appointed the Special Counsel as a

                                            certain               Id.; see Appointment Order ¶¶ (b), (c).


34
         At oral argument, the Court asked the witness whether any statutes, if not Sections 533(1) and 515(b),
authorize the Attorney General to appoint Trial Attorneys to staff non-
Department of Justice and instructed the witness to file later that day a letter identifying such statutes.  r. at
10:11 12:

which the witness denies authorizes the Attorney General to appoint any attorney, see                        12; (2)
28 U.S.C. § 533, which the witness denies authorizes the Attorney General to appoint any attorney, see
Reply at 6 7; (3) 28 U.S.C. § 541, which authorizes the President to appoint U.S. Attorneys; (4) 28 U.S.C. § 542,
which authorizes the Attorney General to appoint Assistant U.S. Attorneys; (5) 28 U.S.C. § 543, which authorizes
the Attorney General to appoint attorneys to assist U.S. Attorneys; and (6) 28 U.S.C. § 546, which authorizes the
Attorney General and district courts to appoint Interim U.S. Attorneys, see               -
                                                                                                                    y
authority to appoint any of the hundreds of Trial Attorneys at Main Justice who do not assist a U.S. Attorney.

                                                         67
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Although                                               specifically mention special counsel, a statute need



                   Edmond, 520 U.S. at 656; see also id. (construing 49 U.S.C. § 323(a), which

                                                            appoint and fix the pay of officers and

                                                                                plain language swept broadly

enough to reach such officers). Section 533(1) is if anything more specific than the statute in

Edmond authorizing the Secretary of Transportation to appoint Coast Guard judges.

         Nixon                                                                                            Nixon, in



specifically to explain

                                                                               Id. at 694 (citing 28 U.S.C. §

533, among other statutes).35 While no party in Nixon had disputed that Congress had authorized

the Attorney General to appoint the Watergate Special Prosecutor, Nixon

Section 533 provided such authority was necessary to the                        conclusion that a justiciable

controversy existed between the President and the Watergate Special Prosecutor, and thus was

not mere dicta. See Six Cos. of Cal. v. Joint Highway Dist. No. 13 of Cal., 311 U.S. 180, 187




35
        Although Nixon did not specify the subsection of Section 533 pursuant to which the Watergate Special
Prosecutor was appointed, Section 533(1) seems to be the most natural choice, as the other subsections authorize the

                                                                 such other investigations regarding official matters
under the control of the Department of Justice and the Department of State as may be directed by the Attorney
                                             (4). The witness criticizes the Special Counsel for failing to cite
Sections 533(2) and 533(3), which authorize the appointment of officials to protect the President and Attorney
                                                                                                       7. The Special
Counsel does not discuss these statutes because the Special Counsel does not rely upon them, and the witness does
                                                                                             Special Counsel
disclaimed reliance on Section 533(4), H                21, which allows the Attorney General to appoint officials

the Department of State as may be directed by the Attorney Gene
provision is needed either.

                                                         68
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        ).

       The witness argues



                                                       , however, often are used virtually

interchangeably. See, e.g., BLACK S LAW DICTIONARY

                                                                           as

                                    MERRIAM WEBSTER S COLLEGIATE DICTIONARY (10th ed.

1993

             as

                      ompass an attorney is untenable, as Section 533(1) authorizes the



                                                       as a word choice broad enough to cover

any Department of Justice officer or employee, and reaches the Special Counsel.



                                                                           only authorizing the

Attorney General to appoint

Reply at 6 7. Section 5                                           officials who detect and

prosecute crimes against the Unit                        533(1), naturally reach beyond the

appointment of FBI officials. See, e.g., Nixon, 418 U.S. at 694; United States v. Hasan, 846 F.

Supp. 2d 541, 546 n.7 (E.D. Va. 2012),     d, 718 F.3d 338 (4th Cir. 2013) (recognizing that

Section 533(1) authorizes the Attorney General to appoint Bureau of Alcohol, Tobacco, Firearms

and Explosives agents); United States v. Fortuna, No. CRIM. 12-636 NLH/JS, 2013 WL



                                               69
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1737215, at *2 n.8 (D.N.J. Apr. 22, 2013) (same). Although Section 533 is located in a chapter

                                                                    28 U.S.C. ch. 33, nestled amidst

statutes concerning the FBI, see, e.g., id. § 532 (providing for appointment of a Director of the

Federal Bureau of Investigation

meaning, which does not solely concern FBI officials. See, e.g., Merit Mgmt. Grp., LP v. FTI

Consulting, Inc., 138 S. Ct. 883, 893 (2018)                                               he plain meaning

of a statutory                                                                      , 554 U.S. 33, 47 (2008)

                                                                                              Bd. of R.R.

Trainmen v. Balt. & Ohio R.R. Co., 331 U.S. 519, 528 29 (1947) (explaining titles and headings

                                                                     cannot undo or limit that which the

                       Holland v. Williams Mountain Coal Co., 256 F.3d 819, 822 (D.C. Cir. 2001)




                                                                                                      36
cannot be limited by its title . . . provisions in a statute do not always align with its

          Finally, the witness observes that the DAG did not cite Section 533 specifically in

                                                            t 7. This is beside the point, however, as the

DAG                                                 Acting Attorney General, including 28 U.S.C. §§

                                                                                     (emphasis added). In

this way, the DAG invoked all his available statutory authority, not just the cited provisions, to

appoint the Special Counsel.



36



                                     conduct the investigation confirmed by then-

officials
this standard, see Appointment Order ¶ (b).

                                                       70
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        2. 28 U.S.C. § 515(b)

        Section 515(b) also authorized the DAG to appoint the Special Counsel. Section 515(b)



shall be commissioned as special assistant to the Attorney General or special attorney, and shall

                                                               Section 515(b) thus plainly contemplates

that the Attorney General has power to appoint special assistants to the Attorney General and

                                           ,                                                                       ,
                                                                 37
is synonymous in this c

        That Section 515(b) uses the past participle form specially                         rather than active

voice phrasing,                    specially retain,            ot limit                  application to

attorneys who already have been retained under a separate statute, as the witness argues, see

Witness Reply at 4.                              are routinely used as adjectives to describe the present

                     Henson, 137 S. Ct. at 1722. Here, the term                                              can

mean either                     is now                          or                     previously had been

spe                     The former construction is more sensible, as no other statute in existence at

                                                                              , was enacted authorized the

Attorney General to appoint such attorneys. See supra Part I.A. Moreover, Section 515(b) does

not require subject                                                   which might imply need for separate

statutory authority, see, e.g.,



                                                         id. § 515(b).


37
         Although Section 515(b) does not specify who                                     attorneys, 28 U.S.C. §
515(b), this power must belong to the Attorney General, as the attorneys in question
                           id.                                                                        id. § 503,
                                                     id. § 509.

                                                        71
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         Section 515(b)                                        is consistent with this construction. Section

515(b) provides that each specially-                                                              Id.38 Where the

powers to appoint an officer and to commission that officer are vested in the same actor, signing

the                            completes the                                 See Marbury v. Madison, 5 U.S.

(1 Cranch) 137, 157 (1803)           T]he constitutional power of appointment . . . . has been exercised

when the last act, required from the person possessing the power, has been performed. This last

act is the signature of the commission            see also U.S. CONST.

shall have Power to fill up all Vacancies that may happen during the Recess of the Senate, by
                                                                                                                   39
granting Commissions which shall expire at the End of their next Session.

Section 515(b) thus authorizes the Attorney General to retain attorneys and to complete such

                                                     those attorneys.40

                              history confirms this understanding. Before the DOJ Act was enacted,

the Attorney General had no authority to hire attorneys to serve under his immediate command. 41

See supra Part I.A.                                                                                       -attorneys


38
         Section 515(b) does not specify who possesses the power to commission specially-retained attorneys, but
this power, like the power to retain such attorneys, see supra note 37, must belong to the Attorney General, both
                                                   e                               28 U.S.C. § 509.
39
                                                                                         Marbury sense, as Marbury
long has been recognized to have settled the law in this area. See, e.g.,                             Union v. Reagan,
                                                                               -five years, the rule as to when an

(citing Marbury, 5 U.S. (1 Cranch) at 157)); Goutos v. United States, 552 F.2d 922, 924
long been the law that an appointment is not made until the last act required by the person or body vested with the
appointment power is performed.           Marbury)); Arco v. United States, 441 F.2d 1173, 1175 (Ct. Cl. 1971)

executive could still refuse to complete the appointment, after Senate confirmation, by failing to prepare or sign the
                       Marbury, 5 U.S. (1 Cranch) at 155 57, 162)); see also 2 STORY, supra, § 1553 n.1, at 363
                                        Marbury
Marbury
40
          Nor can it be maintained that Congress has not authorized an attorney specially retained under Section
515(b) to wield the breadth of authority the Special Counsel possesses, as Section 510 expressly allows the Attorney
                         the performance by any other officer, employee, or agency of the Department of Justice of
any function of the Attorney General
41
          The Attorney General could not even hire the two assistants the 1868 Act gave him; instead, these
assistants were nominated by the President and confirmed by the Senate. See 1868 Act § 5.

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                                       DA Act § 2, but not to assist himself. The DOJ Act greatly

expanded                                                                                     cement and

litigation responsibilities, consolidating these responsibilities underneath the Department of

Justice                                                                                         See generally

DOJ Act. The Act created the position of Solicitor General, transferred various law officers

from other departments into the Department of Justice, assigned the Department law-related

responsibilities other departments previously had exercised, authorized the Department to

conduct all litigation in which the government is interested in any federal court, and charged the

Department with providing legal advice and counsel to all the other departments, which were

prohibited from themselves employing attorneys                                                  Id. §§ 2 7, 14,

17. The Act also gave the Attorney General broad powers to manage the Department and to

                                                                Id. §§ 4 6, 8, 11, 14. Section 17, using

language that remains in Section 515(b) almost unchanged, contemplated that the Attorney

General would

assist in the trial of any case in which the government is interested and

                      al assistant[s] to the Attorney-                  Id. § 17. In this context, Section 17

most naturally is read as a source of authority to appoint attorneys to serve under the Attorney

            immediate control. Indeed, no other statute then in existence authorized the Attorney

General to appoint his own assistants. Failing to read Section 17 to provide such authority thus

would render the statute superfluous and yield nonsensical results, allowing the Attorney General

                                                                                  id., but denying the

Attorney General any authority to appoint those attorneys in the first place. 42


42
         At least one court, over one hundred years ago in another circuit, reached a contrary conclusion, construing
Section 17 to provide the Attorney General no additional authority to appoint attorneys, but that opinion, United

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         Post-DOJ Act statutory history further confirms that Section 515(b) authorizes the

Attorney General to appoint attorneys under his immediate control. As explained supra Part I.A,

Rosenthal had held that only the district attorneys and their assistants could participate in grand

jury proceedings. 121 F. at 865 69. The attorney at issue in Rosenthal

                                                                                               Id. at 863. Congress

responded by enacting                                                                 the Attorney-General or any

officer of the Department of Justice, or any attorney or counselor specially appointed by the

Attorney-                                                                                                           ...




States v. Virginia-Carolina Chemical Co., 163 F. 66 (C.C. M.D. Tenn. 1908), which the parties neither cite nor
discus



provides for the arming of the attorneys and counsellors appointed under [Rev. Stat. 363] with commissions as
evidence of their appointment, prescribes the character of oath they shall take, and defines their duties and
            Id. at 73 74 (quoting Rev. Stat. 363). The court thus construed Rev. Stat. 366 not to authorize the
Attorney General to hire additional special assistants, but only to limit the power of attorneys appointed pursuant to
Rev. Stat. 363. Id. This construction would support the view that Section 515(b) applies only to attorneys appointed
under a separate statute, such as 28 U.S.C. § 542 (authorizing the appointment of Assistant U.S. Attorneys) or 28

         Virginia-Carolina
thus should be construed together, 163 F. at 73, was clearly erroneous. Section 2 was enacted in 1861, as part of the
DA Act, and Section 17 was enacted in 1870, as part of the DOJ Act. Virginia-Carolina incorrectly found otherwise
                                                   United States v. Crosthwaite, that the DOJ Act was codified in
part at Rev. Stat. 363, w
                                                                                           have supervision of their
conduct and proceedings                      (quoting Rev. Stat. 363 (emphasis added)). The italicized language did
indeed come from the DOJ Act, see DOJ Act § 16, but the rest came from Section 2 of the DA Act and is found
nowhere in the DOJ Act. Virginia-Carolina thus erred in misreading Crosthwaite to say that Section 2 and Section

appointed to assist the district attorneys were subject to its provisions. Specifically, Section 17 authorized the


statute applies only to assistants to district attorneys. Id. § 17. The DOJ Act identified
                                                                   id., suggesting that their assistants likewise are distinct.
The DOJ Act                                                                                      [were] associated to the
                          id. § 3; see also id. § 9, but did not fold the district attorneys into the Department, providing
                                                                                                      id. § 16. Finally,
Virginia-Carolina
                                                                               of that statute aggrandized the Attorney
General. Section 17 thus more naturally is read, like every other provision of the DOJ Act, to expand rather than
restrict the                                .

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including grand jury proceedings . . . which district attorneys now are or hereafter may be by law

authorized to conduct. 1906 Act. Congress enacted this Act specifically to overturn Rosenthal.

See H.R. Rep. No. 59-2901, at 2                      Rosenthal] makes the proposed legislation necessary

if the Government is to have the benefit of the knowledge and learning of its Attorney-General

and his assistants, or of such special counsel as the Attorney-General may deem necessary . . . .

The law proposed by the bill under consideration seems to be very necessary, because of the
                                         43
decision in the Rosenthal                     Congress specifically intended the Act to apply

assistant[s] to the Attorney General, or special counsel

States Attorney, particularly in cr                             S. Rep. No. 59-3835, at 1 (1906).



substantial effect.      Ross v. Blake, 136 S. Ct. 1850, 1858 (2016) (quoting Stone v. INS, 514 U.S.

386, 397 (1995)). Given that the attorney in Rosenthal had been appointed under Section

                           see 121 F. at 868, the 1906 Act, currently codified at 28 U.S.C. § 515(a),

properly is viewed as congressional confirmation that Section 515(b) authorizes

appointment. To conclude otherwise

Pierce Cty. v. Guillen, 537 U.S. 129, 145 (2003).



that statute to authorize the Attorney General to appoint attorneys under his immediate control

and repeatedly ratified that understanding. In 1930, Congress authorized the Attorney General to

                                                                        stants to the Attorney General. An




43
         Even those in the House who voiced concerns over the 1
power to appoint special assistants, objecting only to letting such attorneys participate in grand jury proceedings.
See H.R. Rep. No. 59-                                                                            by the Government of
special counsel and the giving to such counsel all the rights and privileges named in the bill, save the right to appear


                                                           75
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Act to Amend Section 366 of the Revised Statutes, Pub. L. No. 71-133, ch. 174, 46 Stat. 170,

170 (1930). The            purpose, the House Report explained, was to end



                                                             71-229, at 1 (1930).

provide authority for                                                       continued, but merely permits

commissions to issue to attorneys as special attorneys in those cases where the Attorney General

                                                                                                            Id.

Congress amended the statute once more in 1948 merely to simplify the                                       See An

Act to Revise, Codify, and Enact Into L

                                           -773, ch. 646, § 3, 62 Stat. 869, 985 86 (1948). Neither bill

evidenced any concern over                                       -then regular use of special counsels

appointed under                       s predecessor. See Persico, 522 F.2d at 54. To the extent that

the meaning                                          was still unclear

                                  -                  that the statute authorized him to appoint special

attorneys. Brown & Williamson, 529 U.S. at 144; see also Forest Grove Sch. Dist. v. T.A., 557

U.S. 230, 239 40

interpretation of a statute and to adopt that interpretation when it re-enacts a statute without

                      Lorillard v. Pons, 434 U.S. 575, 580 (1978)).44


44
         The Special Counsel argues that 5 U.S.C. §
citing two Circuits holding that Section 301 provides statutory authority for a Head of Department to create and
appoint inferior officers. See                             Willy v. Admin. Rev. Bd., 423 F.3d 483, 492 (5th Cir.
2005);                               , 141 F.3d 625, 631 (6th Cir. 1998)). In both Willy and Varnadore, the Head of
Department invoked Section 301 in conjunction with other agency-specific statutes to appoint inferior officers. See
Willy, 423 F.3d at 491 92; Varnadore, 141 F.3d at 631 32. A more recent decision, United States v. Janssen, 73
M.J. 221 (U.S.C.A.A.F. 2014), questioned Willy easoning. Noting that Section 301, by its term
                                  Janssen concluded that construing Section 301 to authorize the appointment of

           Id. at 225. Janssen noted
officials who make up the Office of the Secretary of Defense, and the procedures to be employed for their

                                                        76
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         3.

         In an effort to dispute that Section 515(b) and Section 533(1) authorized the Attorney

General to appoint the Special Counsel, the witness contends that the Appointments Clause

requires Congress to                                                            when vesting an inferior

                                                                    U.S. CONST. art. II, § 2, cl. 2; Concord

Mem. at 12                                       8. Neither the witness nor the authorities he cites offer a

sound principle to justify such a rule. In any event, Sections 533(1) and 515(b) would satisfy

such a rule.

         Courts generally require Congress to speak clearly to enact statutes that raise significant

separation of powers concerns by giving to one branch authority that otherwise would belong to

another. See Kucana v. Holder, 558 U.S. 233, 237 (2010) (                   eparation-of-powers . . . caution us

against reading legislation, absent clear statement, to place in executive hands authority to

                                                         Franklin v. Massachusetts, 505 U.S. 788, 800 01



President, we find that textual silence is not enough to subject the President to the provisions of

the APA. We would require an express statement by Congress before assuming it intended the

                                                                                                            .45


               further noted               s has established three positions within the Office of the Secretary and

trouble of enshrining the positions in statute and providing for their appointment if, as the Government argues, the
Secretary already has the authority under [5 U.S.C. §                    Id. Given that the Special Counsel lawfully
was appointed pursuant to Section 533(1) and Section 515(b) without regard to Section 301, no resolution of this
split of authority is necessary.
45
          Courts impose a similar requirement as to statutes that expand federal authority into domains traditionally
belonging to the states. See, e.g., Bond v. United States                                       ause our constitutional
structure leaves local criminal activity primarily to the States, we have generally declined to read federal law as

Gregory v. Ashcroft

(internal quotation marks omitted)). The witness cites Gregory, see


                                                          77
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                                                                    raises no

                                  t the expense of another branch, Freytag, 501 U.S. at 878, as

inferior officers ultimately remain accountable to the President through the Article II chain of

command, ensuring the                                               s Clause was               to

preserve Edmond, 520 U.S. at 663. Burnap, which the witness cites in support of his proposed

clear statement rule, see Concord Mem. at 10, is not to the contrary, as Burnap involved an

employee rather than officer, and thus does not bear on the specificity with which Congress must

                                 tment in a Head of Department. 252 U.S. at 516 18. Indeed,

while no                     specifically by whom the

Burnap nonethe

Congress had appropriated money for the position and then authorized the employ

 such number of persons for such employments, and at such rates of compensation, as may be

appropriated for by Congress     Id. at 517 18 (internal quotation marks omitted).

       The witness argues that both Morrison and Intercollegiate



Concord Mem. at 10. This is incorrect; neither Morrison nor Intercollegiate imposed such a

rule. While the statutes at issue in those cases expressly authorized the appointment of inferior

officers, see 28 U.S.C. § 593(b)(1) (expired)                         court shall appoint an



appoint 3 full-time Copyright Royalty Judges ), nothing in either Morrison or Intercollegiate

suggested that such specificity was relevant to an appointment s lawfulness. To the contrary,

Edmond held that




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appointment,                                               . . . appears to give the Secretary power to

appoint them      520 U.S. at 656.

       Finally, the witness asserts         the law is settled that the Attorney General cannot




Concord Mem. at 11 (internal quotation marks omitted). The authorities on which the witness

relies to support this claim say no such thing. United States v. California inquired into whether

                                                    -existing statutes which grant the Attorney

General broad powers to institute and maintain court proceedings in order to safeguard national

           332 U.S. 19, 27 (1947). United States v. Hercules, Inc.

authority of the Attorney General to control litigation is not diminished without a clear and

                                                         796, 798 (8th Cir. 1992). United States v.

International Union of Operating Engineers, Local 701 applied a presumption against a

congressional intention to limit the power of the Attorney General to prosecute offenses under

                                            638 F.2d 1161, 1162 (9th Cir. 1979). These decisions

are inapposite,                                               es not deprive the Attorney General of



                                                                                          broad power to

define the scope of the                                  and to direct and supervise the Special

                  see supra Part III.B.1.a.46




46



                                      rity in 28 U.S.C. §§ 516 and 519 has been narrowly construed to permit
                                                                           id. at 56, also is inapposite.

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        In sum, the w                               clear statement rule applies to the vesting of power

to appoint inferior officers in Heads of Departments is unpersuasive. Even if such a rule applied,

moreover,



which authorizes t                                         and                  an attorney as special

assistant to the Attorney General or                          under authority of the Department of

         id. § 515(b), plainly satisfy this test.

        4.                                                 nsel Statutes for Specific Purposes Casts


        The witness posits

expressly confer authority to appoint special or ind

show that the Attorney General lacks freestanding authority to appoint special counsel, as

                                                              statutes had Congress believed the

Attorney General already had such authority. Concord Mem. at 19.

                                                                             -authorization statutes

                                                                                    Id. at 21. As

discussed in more detail below, however, two of the three statutes the witness identifies were

enacted specifically to insulate politically-

                                                                            rity otherwise to appoint

special counsel. The sole statute the witness identifies that specifically empowered the Attorney

General himself to appoint special counsel does not by itself cast doubt on the Attorney

                                                t special counsel, but properly is viewed in context as

a redundancy meant to allow the Attorney General to meet recently-expanded litigation

responsibilities.


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       In reaction to the Teapot Dome scandal, Congress passed a Joint Resolution authorizing

and

counsel who shall have charge and control of the prosecution [of Teapot Dome crimes], anything

in the statutes touching the powers of the Attorney General of the Department of Justice to the

                            See

ch. 16, 43 Stat. 5, 6. Congress authorized the President to appoint the Teapot Dome Special

Counsel not because the Attorney General lacked authority to appoint special counsel himself,

but because

                                                                            In re Olson, 818 F.2d

34, 39 40 & n.7 (D.C. Cir. 1987); see also Donald C. Smaltz, The Independent Counsel: A View

from Inside, 86 GEO. L.J. 2307, 2315 16                                         -Attorney General

Harry Daugherty . . . . This was the first and only time that the appointment of a special

prosecutor was to be with the advice and consent of the Senate. Previously, all special

prosecutors were appointed either directly by the President or at the direction of the President by




                                                                        statutory authority. Olson,

818 F.2d at 42.             grant of                                                 Teapot Dome

wrongdoers,                                                                          . . . to the

contrary notwithstanding, Teapot Dome Res.,                           understanding that the

Attorney General otherwise had authority to appoint special counsel himself.

       The EIGA, which authorized and directed a special division of the D.C. Circuit to

                                                                                        EIGA §



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601(a); see also 28 U.S.C. § 593(b)(1) (expired) (replacing the Special Prosecutor with the

Independent Counsel), tells a similar story. Enacted in response to the Watergate crisis, the

EIGA reflected Congr

General to function impartially with full public confidence in investigating criminal wrongdoing

of high-                                                             Olson, 818 F.2d at 42. The

firing of Special Prosecutor Archibald Cox, along with other instances of Executive Branch

misconduct,                                                                           necessary in

the future, such counsel would have to enjoy some measure of independence from the Executive

            Id.; see also In re Sealed Case, 838 F.2d 476, 504 (D.C. Cir. 1988),

Morrison

                                   IGA thus did not reflect doubt as to

authority to appoint special counsel, but rather recognized concerns over his ability to investigate

impartially the administration in which he served.

          Finally, the witness cites the Payne-Aldrich Tariff Act of 1909, which authorized the

Attorney

                                             1909, Pub. L. No. 61-5, ch. 6, § 28, 36 Stat. 11, 108.

Unlike the Teapot Dome Resolution and the EIGA, the Tariff Act neither reflected a profound

crisis of confidence in the institutions of American democracy nor vested power to appoint

special counsel outside the Attorney General. The Act authorized the Attorney General to

appoint

to appoint special counsel under Section 515(b) and Section 533(1). The Act created the U.S.

Court of Customs Appeals and authorized the appointments of an Assistant Attorney General, a

Deputy Assistant Attorney General, and four other attorneys to represent the government in the



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classification and litigation work that would ensue. Id. at 105 08. That the Act expressly

authorized the Attorney General to appoint special counsel, when Congress could simply have

                                                              special counsel

predecessor, is unsurprising given the volume of litigation the new court was expected to

generate. See Conn. N



between two laws, a court must give effect to both               (internal citation omitted)). Indeed,




                                                                                      wed these as separate

categories. See, e.g., Act of June 25, 1910, Pub. L. No. 61-266, ch. 384, 36 Stat. 703, 747, 750;

Act of July 1, 1918, Pub. L. No. 65-181, ch. 113, 40 Stat. 634, 681, 683; Act of June 3, 1948,

Pub. L. 80-596, ch. 400, 62 Stat. 305, 316 17.

                                                 *        *         *

        For the foregoing reasons, the Attorney General had statutory authority to appoint the

Special Counsel.

        D. The Special Counsel Was Validly Appointed By a Head of Department

        Finally, the witness argues that the Special Counsel was not appointed by a Head of

Department, as the Excepting Clause requires,
                                                                                                              47




47
        The witness raises this argument for the first time in his reply brief. See
well-
                                         , 121 F. Supp. 3d 41, 51 (D.D.C. 2015) (quoting Lewis v. District of
Columbia, 791 F.Supp.2d 136, 139 n.4 (D.D.C. 2011)). The Special Counsel, however, has voiced no objection to
entertaining this argument, and the Court exercises its discretion to do so.

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The witness contends that                                                           the DAG Acting

Attorney General, and thus that the DAG                                 authority to appoint a Special

Counsel as an inferior officer, rendering ultra vires

                   Id.                            is mistaken for two reasons: (1) 28 U.S.C. §

508(a) authorizes the DAG to serve as Acting Attorney General when the Attorney General is

recused from a matter, and (2) the Attorney General constitutionally may delegate to the DAG

the exercise of his appointment power. As such, the Special Counsel was appointed by an

appropriate officer.

       1. 28 U.S.C. § 508(a) Allows the DAG to Serve as Acting Attorney General Where
          the Attorney General is Recused

       Section 508(a) of title 28, United States Code provides: In case of a vacancy in the

office of Attorney General, or of his absence or disability, the Deputy Attorney General may

ex                                                            The witness argues that Section

508(a) does not authorize the DAG to serve as Acting Attorney General but only to exercise the

                                                                        id not trigger Section 508(a)

in any event because recusal is not                               Neither argument persuades.

       The witness asserts that                    does not

                                                              14. It is well-settled, however, that

statutory language authorizing one to exercise the duties of an office suffices to make that person

an acting officer. The Second Congress, for example, enacted a statute empowering the

President, in case of death, absence from the seat of government, or sickness of the Secretary of

State, Secretary of the Treasury, or Secretary of the War department, . . . whereby they cannot

perform the duties of their said respective offices, . . . to authorize any person or persons at his

discretion to perform the duties of the said respective offices until a successor be appointed, or


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until such absence or inability by sickness shall cease

279, 281. The Supreme Court has recognized that this language authorized the President

                           SW Gen., Inc., 137 S. Ct. at 935.

        Congress also, in 1863, empowered

Executive Department, or other officer in either of said Departments, whose appointment is

vested in the President, at his discretion, to perform the duties of the said respective offices until

a successor

Act of Feb. 20, 1863, ch. 45, 12 Stat. 656, 656. Subsequently, the Vacancies Act of 1868

                                                                                e head of any

executive department, the first or sole assistant thereof shall, unless otherwise directed by the

President of the United States, as is hereinafter provided, perform the duties of such head until a

successor be appointed, or such absence or s                           Act of July 23, 1868, ch.

227, 15 Stat. 168, 168. The Supreme Court has described both of these statutes as authorizing

the service of                    SW Gen., Inc., 137 S. Ct. at 935; see also 5 U.S.C. §

3347(a)(1)(B) (recognizing that a statute               [ing] an officer or employee to perform the

functions and duties                                                             ); English v. Trump,

279 F. Supp. 3d 307, 312 (D.D.C. 2018) (describing 12 U.S.C. § 4, which allows the Deputy

Comptrollers of the Currency to

                                   . . . absence or disability,

                                                            statute only two years after the Vacancies

Act of 1868. See DOJ Act § 2 (providing that the Solicitor

office of Attorney-General, or in his absence or disability, shall have power to exercise all the

duties of that office                                                             DAG as Acting



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Attorney General,                                                                     to authorize the service of

acting officers. See SW Gen., Inc., 137 S. Ct. at 935; Cf. Bond v. United States, 134 S. Ct. 2077,

2088 (2014)                                                                                            just as it

                              ANTONIN SCALIA, A MATTER OF INTERPRETATION: FEDERAL COURTS

AND THE LAW                                                           reasonably, to contain all that it fairly

             Context and common sense reinforce this conclusion. Section 508(a) is triggered by

                                                         28 U.S.C. § 508(a), both situations in which there

effectively is no Attorney General. Under such circumstances, Section 508(a) most sensibly and

naturally is construed to allow the DAG to act as Attorney General, rather than to hold the

                      s office vacant while allowing another merely to perform the Attorney



                                                       designation is carefully defined and triggered by

op                                        t                                                       , which is

                                                              14, and which applies only when an officer

nominated by the President and confirmed by the Senate
                                                                                 48
perform the functions and duties of the office,                                       The FVRA, however, is

not                                temporarily authorizing an acting official to perform the functions

and duties of any office of an Executive agency                      a statutory provision expressly . . .


48
         The Special Counsel disclaims any reliance on the FVRA, see                         5, due to the time
                                                            see 5 U.S.C. § 3346. The Special Counsel argues that
                                                                                    hen recusal continues


by it
office of Attorney General, or of his absence or disability, the Deputy Attorney General may exercise all the duties
of that office, and for the purpose of [the FVRA] the Deputy Attorney General is the first assistant to the Attorney

designation, for FVRA purposes,
                                                                    See id.

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designates an officer or employee to perform the functions and duties of a specified office

te                                                                ; see also Hooks v. Kitsap Tenant

Support Servs., Inc.

provides a means for filling such a vacancy . . . . neither the FVRA nor the [other statute] is

the exclusive means of appointing an Acting [officer].        English



agency-specific statutes . . . . Where such a statutory provision exists and . . . the FVRA applies,

that can only mean t                   is a nonexclusive m                                   . Section



functio                                          5 U.S.C. § 3347(a)(1)(B), until the vacancy,

absence, or disability ends, 28 U.S.C. § 508(a).

                                                                                See S. Rep. No. 105-

250, at 15 16 (1998). The FVRA thus does not provide the exclusive means for designating an

Acting Attorney General.

          The witness persists, contending that even if Section 508(a) allows the DAG to serve as

Acting Attorney General, the Attorney General       recusal does not constitute

Section                                                 15. As support, the witness states that the

Attorney General

                            want to serve as Attorney General with respect to matters from which

he had recused himself because he felt conflicted to be in charge of the Ru

Id. at 15.

meaning                               . Id. To the contrary, dictionaries in use during the period

in which



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                                1 BENJAMIN VAUGHN ABBOTT, DICTIONARY OF TERMS AND PHRASES

USED IN AMERICAN OR ENGLISH JURISPRUDENCE (1879), a definition that can encompass an

                                        a legal impediment to the performance of his functions, such

as 28 C.F.R. § 45.2.49 Dictionary of Terms and Phrases

disability, in a statute providing what shall be done in the event of death or disability of a public

                                                                                                        Id.

        The limited case law                                           in Section 508(a) provides little

additional clarity. United States v. Libby                                                       s recusal from

participation in the investigation of the possible unauthorized disclosure of classified

information, the Deputy Attorney General, pursuant to 28 U.S.C. § 508(a), was vested with all

the powe                                    429 F. Supp. 2d 27, 31 (D.D.C. 2006). Whether Section

508(a) covers situations of recusal was not thoroughly litigated, however; the Court appears to

have assumed rather than concluded that it does. In contrast, Moog v. United States, which the

witness relies upon, see                               16

[Section 508(a)] contemplates a complete inability of the Attorney General to perform his duties,

such that the Deputy Attorney General must

No. MISC. CIV-90-215E, 1991 WL 46518, at *2 (W.D.N.Y. Apr. 1, 1991).


49
         Other dictionaries of the era offered broadly similar definitions. See, e.g., J. KENDRICK KINNEY, A LAW
DICTIONARY AND GLOSSARY (1893)                                         HENRY CAMPBELL BLACK, A DICTIONARY OF
LAW
acts with proper legal effect, or to enjoy cer                                            JOHN BOUVIER, A LAW
DICTIONARY                                                     J.J.S. WHARTON, LAW LEXICON, OR DICTIONARY OF
JURISPRUDENCE
                                                       WHARTON, supra; accord ABBOTT, supra; 1 STEWART
RAPALJE & ROBERT L. LAWRENCE, A DICTIONARY OF AMERICAN AND ENGLISH LAW (1883) (dividing disabilities
                                                 BLACK, supra

             [s]
ABBOTT, supra; accord BLACK, supra (same). All of the above dictionaries have been touted as among the most
useful and authoritative to understand contemporaneous legal and popular usage for the period 1851 1900. See
SCALIA & GARNER, supra, at 423, 425 26.

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                                      Moog

Attorney General would require his deputy to assume all the duties of office, clearly a

nonsensical result. Id. Properly construed, however, Section 508(a) does not require the DAG

to assume all                                     , as the Moog Court suggested, when the

Attorney General is recused only from particular matters. Section 508(a) provides that in the

                                                                           may exercise all the

                                                               The

that the DAG need not

of interest exists.

        More illustrative and

Rule 25(a) of the



judge before whom the trial began cannot proceed because of death, sickness, or other

             FED. R. CRIM. P. 25(a)(1). At least four federal circuit courts have construed the

                                                                  See In re United States, 614

F.3d 661, 662 (7th Cir. 2010)                                  Rule 25(a) includes disability by

                      (internal quotation marks omitted)); United States v. Hall, 171 F.3d 1133,



              United States v. Sartori, 730 F.2d 973, 976 (4th Cir. 1984) (same); Bennett v. United

States, 285 F.2d 567, 572 (5th Cir. 1960) (concluding that a trial judge properly had recused

                                                                                          as using

his name in order to obtain affidavits from certain witnesses in order to support his motion for a

              The Supreme Court of Michigan has taken a similar approach. See People v. Hicks,



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                                                           midtrial recusal and refusal to further

                                                                                  .

       United States v. Jaramillo, 745 F.2d 1245, 1249 (9th Cir. 1984), is not to the contrary. 50

A judge presiding over a criminal trial was himself indicted by a grand jury and thereafter

                                             would be inappropriate for anybody to preside in a trial

                               Id. at 1246. The defendant moved to bar retrial on double jeopardy

grounds, arguing that no manifest necessity to declare a mistrial had existed because another

judge could have completed the trial under Rule 25(a). Id. at 1247, 1249. Jaramillo recognized

                       condition                                see id.               here, as here, the




                                               ique problems he faced as a judge indicted on criminal

                                                                              Id. Notably, Jaramillo

did not conclude that Rule 25(a) was unavailable under the circumstances.

       2. 28 U.S.C. § 510 Allows the Attorney General to Delegate to the DAG Authority
          to Appoint the Special Counsel

       In the alternative, even if the DAG were not Acting Attorney General for this matter, he

still would have had authority to appoint the Special Counsel under the Attorney General



recusal subject-matter. See Recusal Statement. Section 510 allows the Attorney General to

                                            s appropriate authorizing the performance by any other

officer . . . of the Department of Justice of any function of the Attorney General. 28 U.S.C. §

510. Appointing special counsel is a                                             id., under Section


50
       The parties do not rely on this decision.

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515(b) and Section 533(1). The DAG thus had authority to appoint the Special Counsel even if

he was not formally the Acting Attorney General under Section 508(a).

          The witness does not disp                                                can encompass a delegation of

authority to appoint the Special Counsel, but asserts that the DAG

                  U.S. CONST. art. II, § 2, cl. 2, cannot constitutionally exercise the power to appoint

inferior officers,                            14 15. This argument conflates the vesting of a power with

the exercise of that power. Article II                               , which

Power shall be vested in a President                                                      U.S. CONST. art. II, § 1, cl.

1, illustrates this point. That Clause                                                some of the executive power,

but all                                   Morrison, 487 U.S. at 705 (Scalia, J., dissenting), yet few would

argue that only the President can exercise the executive power. To the contrary, that others may

exercise the executive power                                          is well-established.51 Likewise, the fact

that the power to appoint inferior officers is vested in the Attorney General does not prevent the

DAG from exercising that                                                               Lucia is not to the contrary.

Lucia

                                                                                   at their appointments were

invalid because they were selected by SEC staff rather than by the SEC itself. 138 S. Ct. at


51
          See U.S. CONST. art. II, § 2, cl. 2 (providing for the appointment of executive officers); id. art. II, § 3
                                                       be faithfully executed                     Printz v. United
States
through officer                                                                             In re Neagle, 135 U.S. 1, 63

fulfilling th[e] [Take Care] obligation    accord Myers, 272 U.S. at 133 (same); see also PCAOB, 561 U.S. at 483

                                                                   t the supreme Magistrate in discharging the duties
                                                 United States v. Farden
Secretary, the head of the Treasury Department, is presumed to be the act of the Preside      Wilcox v. Jackson, 38

                                                       Parker v. United States
Secretary of War, as the legitimate organ of the President, under a general authority from him, may exercise [the


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2050 51, 2055. Lucia did not indicate, however, that the same result would have been reached

had the ALJs been appointed pursuant to an express grant of authority by the SEC to staff to

appoint ALJs, nor that the SEC could not do so.

delegation of power to the DAG to appoint the Special Counsel would not violate Article II even

if the DAG were not the Acting Attorney General.

IV.    CONCLUSION



Consequently, the witness is ordered, pursuant to the grand jury subpoenas served by the Special

Counsel, to appear before the grand jury to provide testimony at the earliest date available to the

grand jury, and to complete production of the subpoenaed records promptly.

       An appropriate Order accompanies this Memorandum Opinion.

       Date: July 31, 2018



                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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